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 1
                                                                     The Honorable Robert S. Lasnik
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 6
                               UNITED STATES DISTRICT COURT
 7                       FOR THE WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 8
     In Re YARDI REVENUE MANAGEMENT                       Case No. 2:23-cv-01391-RSL
 9   ANTITRUST LITIGATION
10                                                        CONSOLIDATED CLASS ACTION
                                                          COMPLAINT
11   MCKENNA DUFFY and MICHAEL BRETT,
     individually and on behalf of all others similarly
12   situated,                                            JURY TRIAL DEMANDED
13                  Plaintiffs,
14          v.
15
     YARDI SYSTEMS, INC.; A. J. DWOSKIN &
16   ASSOCIATES, INC.; AFFINITY PROPERTY
     MANAGEMENT, LLC; APARTMENT
17   SERVICES, INC.; ARDMORE
     RESIDENTIAL, INC.; ASSET LIVING, LLC;
18   AVENUE5 RESIDENTIAL, LLC;
19   BALACIANO GROUP; BALKE BROWN
     TRANSWESTERN, INC.; BANYAN LIVING
20   OHIO LLC; BRIDGE PROPERTY
     MANAGEMENT, L.C.; CALIBRATE
21   PROPERTY MANAGEMENT, LLC;
     CONCORD MANAGEMENT, LTD.;
22   CREEKWOOD PROPERTY CORPORATION;
23   DALTON MANAGEMENT, INC.; DWECK
     PROPERTIES, LTD.; EDWARD ROSE &
24   SONS; ENVOLVE COMMUNITIES, LLC; FPI
     MANAGEMENT, INC.; GHP
25   MANAGEMENT CORPORATION;
     GOODMAN REAL ESTATE, INC.; GRE
26   MANAGEMENT, LLC; GREYSTAR
27   MANAGEMENT SERVICES, LLC; GRUBB
     PROPERTIES, LLC; GUARDIAN
28   MANAGEMENT, LLC; HNN ASSOCIATES,

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 1   LLC; KRE GROUP, INC.; LUMACORP, INC.;
     MANCO ABBOTT, INC.; MCWHINNEY
 2
     PROPERTY MANAGEMENT, LLC;
 3   MORGUARD MANAGEMENT COMPANY
     INC.; OAKLAND MANAGEMENT CORP.
 4   d/b/a BEZTAK MANAGEMENT COMPANY;
     PRG REAL ESTATE MANAGEMENT, INC.;
 5   RAM PARTNERS, LLC; R.D. MERRILL
     REAL ESTATE HOLDINGS, LLC; RPM
 6
     LIVING, LLC; SENTINEL REAL ESTATE
 7   CORPORATION; SINGH MANAGEMENT
     CO., L.L.C.; SOUTHERN MANAGEMENT
 8   COMPANIES LLC; SUMMIT
     MANAGEMENT SERVICES, INC.; THE
 9   HABITAT COMPANY LLC; TOWNE
     PROPERTIES ASSET MANAGEMENT
10
     COMPANY, LTD.; WALTON
11   COMMUNITIES, LLC; WESTERN
     NATIONAL SECURITIES d/b/a WESTERN
12   NATIONAL PROPERTY MANAGEMENT;
     WILLOW BRIDGE PROPERTY COMPANY
13   NATIONAL d/b/a LINCOLN PROPERTY
14   COMPANY; WOODWARD MANAGEMENT
     PARTNERS, LLC; and FICTITIOUS
15   DEFENDANTS JOHN DOES 1-100,

16              Defendants.

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11   FIRST CLAIM FOR RELIEF VIOLATION OF SECTION 1 OF THE
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 1           Plaintiffs Mckenna Duffy and Michael Brett bring this action on behalf of themselves
 2   individually and on behalf of a class consisting of all persons who leased multifamily residential
 3   real estate units directly from a defendant or co-conspirator from September 8, 2019, through the
 4   present, in the nationwide multifamily housing rental market (hereinafter “the multifamily
 5   market”). Plaintiffs bring this action for treble damages and injunctive relief under Section 1 of
 6   the Sherman Act. Plaintiffs demand a trial by jury.
 7                                   I.      NATURE OF THE ACTION
 8           1.      Rental prices across America have reached new levels of unaffordability for the
 9   average American. The U.S. Department of Housing and Urban Development specifically defines
10   households as “rent-burdened” if they pay more than 30% of their income for housing. This is
11   because households that pay so much of their income for housing may, according to HUD, “have
12   difficulties affording necessities such as food, clothing, transportation and medical care.”1
13   According to 2023 studies, the average American renter is now cost burdened, with the typical
14   renter now paying more than 30% percent of their income for housing.2 This is the first time this
15   has occurred in the more than 20 years that Moody’s Analytics has tracked this metric.
16           2.      Unbeknownst to millions of Americans struggling to pay rent, Landlord
17   Defendants3 are using a coordinated pricing algorithm administered by Defendant Yardi Systems,
18
        1
          HUD, “Rental Burdens: Rethinking Affordability Measures” (available at
19   https://www.huduser.gov/portal/pdredge/pdr_edge_featd_article_092214.html#:~:text=HUD%20defines%
     20cost%2Dburdened%20families,of%20one's%20income%20on%20rent) (last visited Nov. 3, 2023).
20      2
          The Hill, “The Average American tenant is rent-burdened. Here’s what that means for the Economy,”
     February 21, 2023 (available at https://thehill.com/changing-america/sustainability/infrastructure/3866947-
21
     renters-paying-30-percent-of-income-for-housing-crisis/).
        3
22        Defendants A. J. Dwoskin & Associates, Inc.; Affinity Property Management, LLC; Apartment
     Services, Inc.; Ardmore Residential, Inc.; Asset Living, LLC; Avenue5 Residential, LLC; Balaciano
23   Group; Balke Brown Transwestern, Inc.; Banyan Living Ohio LLC; Bridge Property Management, L.C.;
     Calibrate Property Management, LLC; Concord Management, Ltd.; Creekwood Property Corporation;
24   Dalton Management, Inc.; Dweck Properties, Ltd.; Edward Rose & Sons; Envolve Communities, LLC;
     FPI Management, Inc.; GHP Management Corporation; Goodman Real Estate, Inc.; GRE Management,
25   LLC; Greystar Management Services, LLC; Grubb Properties, LLC; Guardian Management, LLC; HNN
     Associates, LLC; Kre Group, Inc.; LumaCorp, Inc.; Manco Abbott, Inc.; McWhinney Property
26   Management, LLC; Morguard Management Company Inc.; Oakland Management Corp. D/B/A Beztak
     Management Company; PRG Real Estate Management, Inc.; Ram Partners, LLC; R.D. Merrill Real Estate
27   Holdings, LLC; Rpm Living, LLC; Sentinel Real Estate Corporation; Singh Management Co., L.L.C.;
     Southern Management Companies LLC; Summit Management Services, Inc.; The Habitat Company LLC;
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 1   Inc. (“Yardi”), a property management software company, that is specifically designed to inflate
 2   rental prices. Indeed, the artificial price inflation is in the very name of the algorithm:
 3   “RENTmaximizer.”4 For more than a decade, Yardi has repeatedly touted the ability of the
 4   algorithm to generate supracompetitive pricing, emphasizing how Defendant Landlords that use
 5   “RENTmaximizer” are able to increase rents faster than comparable properties. Plaintiffs
 6   challenge this conspiracy among Landlord Defendants and Yardi that has led to ordinary
 7   Americans being overcharged on rental prices that they pay across the nation.
 8           3.      Landlord Defendants manage multifamily rental properties across the United
 9   States. In a competitive market, these companies would compete on rental prices to attract
10   renters—that is, they would set rents in accordance with the fundamentals of supply and demand.
11   When demand surges, rents may go up. When demand falls, property management companies
12   normally prioritize occupancy rates, and thus increase concessions (e.g., offering a first month
13   free) to attract renters.
14           4.      In the absence of knowledge about competitors’ pricing strategies, property
15   managers can only make their best educated guesses and set their prices at optimal positions—
16   usually a bit lower than what is offered by competitors—to attract renters in the market. If a lessor
17   wants to take a chance to raise rents regardless of market conditions, other competitors will soon
18   take that lessor’s business away by listing their units at competitive prices.
19           5.      Yardi, together with the Landlord Defendants, has unlawfully solved this problem
20   with a product originally called “RENTmaximizer.” Launched in 2011, RENTmaximizer is an
21   algorithmic pricing tool marketed to lessors that is intended to “automate” lessors’ “rental pricing
22   process” and thus help “multifamily property managers maximize rental income” by
23

24   Towne Properties Asset Management Company, Ltd.; Walton Communities, LLC; Western National
     Securities D/B/A Western National Property Management; Willow Bridge Property Company National
25   D/B/A Lincoln Property Company; and Woodward Management Partners, LLC, collectively, are the
     “Landlord Defendants,” and together with Defendant Yardi Systems, Inc., the “Defendants.”
26      4
          Yardi’s website indicates that “RENTmaximizer” has been renamed “Revenue IQ.” See “Revenue
     IQ,” https://www.yardi.com/products/yardi-revenue-iq/. The domain
27   https://www.yardi.com/rentmaximizer redirects users to the “Revenue IQ” page, which describes Revenue
     IQ as substantially similar to RENTmaximizer. All references herein to “RENTmaximizer” in this
28   complaint also include by reference Revenue IQ.

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 1   “increasing . . . revenue by 3 to 6 percent”5—that is, RENTmaximizer effectively outsources the
 2   management of rental pricing from a landlord to Yardi itself, which then implements higher prices
 3   collectively across a group of landlords. According to Terri Dowen, Yardi’s senior vice president
 4   of sales, “[b]y automating rental pricing that factors in portfolio and market data,
 5   RENTmaximizer not only improves rental income while maintaining occupancy, it simplifies the
 6   process by eliminating rent rate guesswork and traditional sales devices such as concessions and
 7   specials.”6
 8          6.      In other words, Yardi’s RENTmaximizer is specifically, and publicly, marketed as
 9   a means to eliminate the discounting that would occur in a competitive market. Landlord
10   Defendants who agree to use RENTmaximizer understand that its purpose is to foil the operation
11   of the competitive market. Indeed, in marketing materials, Yardi advertises that “revenue grows
12   on Yardi”7 and that Yardi users “beat the market by a minimum of 2%” and “gain[] on average
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          See Yardi Adds Two Revenue Management Experts to its Yardi RENTmaximizer Team, Business Wire
25   (June 22, 2011), available at https://www.businesswire.com/news/home/20110622006700/en/Yardi-Adds-
     Two-Revenue-Management-Experts-to-its-Yardi-RENTmaximizer-Team.
26      6
          The Rockbridge Group Increases Rent Revenue with Yardi RENTmaximizer, Business Wire (June 21,
     2016), https://www.businesswire.com/news/home/20160621005024/en/Rockbridge-Group-Increases-Rent-
27   Revenue-Yardi-RENTmaximizer.
        7
          Yardi, Revenue Grows on Yardi: RENTmaximizer (video) (June 19, 2017),
28   https://www.facebook.com/Yardi/videos/revenue-grows-on-yardi-rentmaximizer/1501017369961971/.

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 1   more than 6% net rental income.”8 Yardi even tells its users: “You manage your business, we
 2   manage your pricing”:
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             7.      Marketing materials for Yardi’s “Revenue IQ” product—which, on information
14
     and belief, is a rebranded version of RENTmaximizer—echo the same theme, boasting that
15
     lessors can use Yardi’s pricing software to “[w]in at pricing” and “[c]onsistently beat the
16
     market”9:
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27      8
         Yardi, Yardi Multifamily Suite (2019), available at https://resources.yardi.com/documents/
     multifamily-suite-brochure/.
28     9
         Yardi, Revenue IQ, https://www.yardielevate.com/multifamily/revenue-iq/ (last visited Sept. 7, 2023).

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 1            8.     According to Yardi’s publicly available promotional materials, a key input to
 2   Yardi’s pricing algorithm, or “engine,” is competitor pricing data. Specifically, RENTmaximizer
 3   asks users to input their data, such as rental rates and occupancy, into its system; meanwhile, the
 4   system automatically incorporates market-specific information on “comparative rent” to, in
 5   Yardi’s words, give users “accurate and timely information regarding your market—including
 6   every comp and how you compete”10—or what it also calls “complete visibility,” including
 7   “performance benchmarking” “compared to the market, submarket, and competition”:
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              9.     Yardi specifically markets to potential users that Yardi RENTmaximizer /
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     RevenueIQ provides extensive data on competitors’ pricing that users can then use to maximize
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     their own rental prices. For example, in one non-public 2023 presentation provided to a potential
22
     customer, Yardi touted that through RevenueIQ, “your operations team gains holistic revenue
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          Yardi Systems, Inc., Yardi Elevate (2020), available at https://resources.yardi.com/documents/
28   elevate-suite-for-multifamily-brochure/.

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 1   intelligence from rental rates and occupancy to property performance benchmarks compared to
 2   the market, submarket, and competition.”
 3          10.     RevenueIQ includes extensive benchmarking data that is collected from Yardi
 4   property management clients and then made available to RevenueIQ users in aggregated fashion.
 5   Through RevenueIQ, users obtain data on other specific properties that are similar in terms of
 6   location, quality, or property characteristics. Comparable properties may be either suggested by
 7   Yardi or selected by the user. The Revenue IQ user identifies a total of at least ten properties. At
 8   that point, the data from those competitor properties is presented in aggregated fashion to the
 9   Revenue IQ user. As stated in Yardi’s own interrogatory responses in this litigation, the
10   benchmarking data that is presented to Revenue IQ users includes “actual leasing, operational,
11   and financial data from Yardi property management clients.” Yardi acknowledges that the
12   benchmarking data is used by Revenue IQ clients to understand how their properties “are
13   performing financially and operationally as compared to comparable properties.” In short,
14   Revenue IQ provides to users extensive confidential data from competitor properties alongside
15   the pricing recommendations that Revenue IQ formulates. Notably, Yardi’s own interrogatory
16   responses specify that this benchmarking information provided through Revenue IQ, based on
17   confidential data from Yardi clients, “bears no relation” to the pricing surveys that Yardi also
18   conducts and makes available for usage in Revenue IQ. Yardi’s Revenue IQ, therefore,
19   incorporates and provides to users multiple types of competitor data: (1) confidential
20   “benchmarking” information collected from Yardi users and (2) pricing information that Yardi
21   meticulously collects through regular market surveys.
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 1          11.     Yardi also operates Yardi Matrix, a commercial real estate intelligence source.
 2   Yardi Matrix actively collects data from Defendants and other multifamily operators related to
 3   rental prices at multifamily properties across the entire nation. Subscribers to Yardi Matrix
 4   receive rental price information, as well as other data such as short and long-range forecasts of
 5   rent and occupancy at the market and sub-market levels. Yardi’s own interrogatory responses
 6   state that, “as of August 7, 2024, Yardi Matrix maintains property profiles for approximately
 7   120,301 properties and 22,543,728 units. Yardi publicly advertises the extensive amount of data
 8   available through Yardi Matrix:
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 1          12.     Yardi Matrix also conducts “rent surveys” multiple times annually to collect
 2   current pricing information about rental properties. As part of the rent survey, Yardi employees,
 3   masquerading as potential renters, call apartment community building to collect information
 4   about rents and current rent specials. Yardi itself has acknowledged that information Yardi
 5   collects from rent surveys is used in RENTmaximizer, stating that asking rent adjustments in
 6   RENTmaximizer are based, in part, on “public information collected through surveys.” Yardi’s
 7   public marketing for Matrix explicitly states that Matrix data is incorporated into
 8   RENTmaximizer.
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            13.     Yardi’s own interrogatory responses confirm the extensive, regular market surveys
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     that Yardi conducts and then provides for usage in Revenue IQ. Yardi’s interrogatory responses
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     state that “Yardi endeavors to collect asking rents for all apartment communities for which
19
     profiles have been established three times annually during a six-week period in January/February,
20
     May/June and September/October. These are referred to by Yardi as ‘benchmark’ surveys.”
21
     Yardi’s interrogatory responses also describe additional surveys that Yardi conducts on a monthly
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     basis, stating that “Stratified surveys are conducted monthly on a sample subset of properties in
23
     various markets, presently consisting of approximately 12,000 to 13,500 properties. Stratified
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     surveys typically take place over the course of five to eight days during the second week of each
25
     month. The purpose of stratified rent surveys is to identify market trends during intervals between
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     the benchmark surveys.” And, Yardi also states that it “conducts ad hoc surveys from time to time
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     to obtain information” related to property characteristics and current rents. The surveys collect
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 1   extensive information including asking rents, whether and what types of specials are offered, non-
 2   rent specials, and lease term offerings.
 3          14.     Defendants provide information to Yardi Matrix with the understanding that, in
 4   part, they will receive pricing recommendations from RENTmaximizer that are based on Yardi
 5   Matrix data. CW 6, a former Yardi employee, stated that all Yardi clients— or Voyager clients—
 6   contractually agree to share pricing and occupancy data with Yardi and to allow Yardi to use
 7   “aggregated data” as part of Matrix and RENTmaximizer. CW 6 stated that “when you sign your
 8   contract with them, you agree to give your data, aggregated.” CW 6 stated that Yardi has “all the
 9   data from all of their properties inside Matrix” and that “somebody then buys that data in the form
10   of RENTmaximizer.” Similarly, CW 7, who worked at Yardi between 2019 and 2021 as a senior
11   account executive, explained that while Yardi’s clients were “very concerned about sharing their
12   rental rates more than anything,” “[m]ost people appreciated the fact that if they shared data, they
13   would get data from other clients using things like RENTmaximizer, so that everybody was
14   benefitting from the data.” And Yardi’s own interrogatory responses state that “a landlord
15   defendant using Revenue IQ may choose to use rents obtained by Matrix, as a source of data for
16   its Revenue IQ comp trend, then the Matrix survey data for the chosen comp properties and
17   floorplans are used in the average comp rent calculation.”
18          15.     Yardi’s standard contractual agreement with Revenue IQ users provides Yardi
19   with broad contractual rights to use the data of Revenue IQ users. In particular, the standard
20   services agreement states that “Client acknowledges and agrees that Yardi may aggregate,
21   compile, use, and disclose Client data provided to Yardi as part of the Services in order to
22   improve, develop or enhance the Services; provided that no Client data is identifiable as
23   originating from, or can be traced back to, Client or a Client customer in such aggregated form.”
24   The services agreement also makes clear the importance of users providing data to Yardi, stating
25   that “Client agrees to provide current and relevant data to Yardi regarding the
26   properties/units/items for which Yardi provides Services. Client acknowledges that such data is
27   necessary to Yardi’s provision of the Services.” Yardi’s own interrogatory responses confirm that
28   this language giving Yardi broad access to the data of Revenue IQ users has been present

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 1   throughout the relevant period, with Yardi stating that “Yardi is not aware of any contractual
 2   language pertaining to the use or non-use of aggregated data that might apply to Yardi customers
 3   using Revenue IQ during the Relevant Time Period that differs from the language in the templates
 4   already produced to Plaintiffs.” And Yardi also stated that it is not aware of any user of Revenue
 5   IQ that has not agreed to this contractual language.
 6            16.    Leveraging data gathered from RENTmaximizer users as well as comparative rent,
 7   RENTmaximizer’s rental pricing algorithm then calculates a “rent recommendation” that users
 8   can—and are encouraged to—automatically adopt. These prices are updated “daily.” Yardi also
 9   advertises (as noted above) that it gives lessors “complete visibility” into the market, providing
10   them with “property performance benchmarking (compared to the market, submarket and
11   competition)”11:
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              17.    Furthermore, Yardi provides RENTmaximizer users “with a dedicated revenue
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     manager” who works closely with individual lessors to hone their usage of RENTmaximizer by
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     “get[ting] to know your business processes, assets, and goals to provide superior support and . . .
20
     work[ing] with you to maximize your returns.”12 Promotional materials for Yardi’s “Revenue IQ”
21
     product similarly advertise the assistance of “dedicated Yardi expert[s]” who “help manage
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        11
24         Id. Similar promotional materials for Yardi Revenue IQ state: “Get visibility into rent movement and
     operational performance. Know your market in real time — including every comp and how you compete.
25   Daily management reports help you understand pricing changes and show you upcoming exposure along
     with traffic and trends. Provide extensive revenue intelligence for your operations team and give your
26   managers confidence in the rental prices they offer. With this transparent system you’ll see: Rental rates
     and occupancy data; Pricing options for prospects and residents; Property performance benchmarking
27   (compared to the market, submarket and competition).” See Yardi Systems, Inc., Revenue IQ,
     https://www.yardi.com/products/yardi-revenue-iq/ (emphasis added) (last visited Sept. 7, 2023).
28      12
           Yardi Elevate, supra note 10.

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 1   pricing” and assist lessors in “[g]et[ting] pricing recommendations and control[ling] pricing at the
 2   property level”13:
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              18.     Yardi emphasizes to prospective clients that Yardi’s RENTmaximizer/Revenue IQ
12
     project will manage pricing for clients who purchase the software. For example, in one non-public
13
     2023 presentation to a prospective client, Yardi stated, “[y]ou manage your business; we manage
14
     pricing,” while emphasizing at the same time the availability of a “dedicated, experienced revenue
15
     manager” who would work with the client along with the software.
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              19.     Revenue managers employed by Yardi help further Landlord Defendants’
21
     coordination by facilitating their implementation of the common pricing scheme produced by
22
     usage of RENTmaximizer. In particular, Yardi’s revenue managers give Landlord Defendants
23
     “confidence” in their decisions to charge inflated prices. As Adam Goldfarb, vice president for
24
     lessor Manco Abbott, stated in a 2015 press release, “Having a dedicated revenue manager
25
     working with us from the Yardi RENTmaximizer team is a huge benefit. If our staff or property
26

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28     13
            See Revenue IQ, supra note 9.

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 1   owners question any of our rates, we have our Yardi RENTmaximizer expert who can dig deeper
 2   to support our pricing—and that gives our organization and clients great confidence.”14
 3            20.    The result of this scheme is that Landlord Defendants outsource their once-
 4   independent pricing and supply decisions to a single decisionmaker, RENTmaximizer, and need
 5   not directly disclose their pricing strategies to each other in order to fix rent prices. Instead,
 6   Landlord Defendants collectively adopt a coordinated pricing strategy implemented and enforced
 7   by Yardi’s RENTmaximizer product. Defendants further understand that the pricing data they
 8   provide to Yardi is used to power the supracompetitive pricing adjustments that Yardi’s
 9   RENTmaximizer provides to their competitors. Yardi also publicly markets the housing operators
10   who have adopted RENTmaximizer and publicizes that usage of RENTmaximizer allows housing
11   operators to charge supracompetitive prices.
12            21.    The Federal Trade Commission and Department of Justice’s “Antitrust Guidelines
13   for Collaborations Among Competitors” emphasize that “[o]ther things being equal, the sharing
14   of information relating to price, output, costs, or strategic planning is more likely to raise
15   competitive concern than the sharing of information relating to less competitively sensitive
16   variables. Similarly, other things being equal, the sharing of information on current operating and
17   future business plans is more likely to raise concerns than the sharing of historical information.”15
18   These are precisely the types of information Landlord Defendants exchange through Yardi.
19            22.    Lessors have spoken openly and enthusiastically about Yardi’s market-beating
20   results and ability to take the “guesswork” out of setting rents and imposes “discipline” on pricing
21   decisions.16 As Philip Nored, owner and managing partner of lessor HNN Associates described it
22      14
           Manco Abbott Inc. Achieves Rental Growth, Gains Expert Pricing Insight with Yardi
23   RENTmaximizer, Business Wire (Nov. 10, 2015), https://www.businesswire.com/news/home/
     20151110005039/en/.
        15
24         Federal Trade Commission & U.S. Department of Justice, Antitrust Guidelines for Collaborations
     Among Competitors 15–16 (April 2000).
        16
25         Economists recognize that pricing discipline, as well as public commentary about the need for
     discipline, is evidence of potential coordinated pricing. Jonathan Baker & Timothy Bresnahan, Economic
26   Evidence in Antitrust: Defining Markets and Measuring Market Power in Paolo Buccirossi, Stanford Law
     School, John M. Olin Program in Law and Economics, Working Paper No. 328 1 (2006). (“If industry
27   participants routinely respond to low prices not by pointing to lower costs but instead by complaining
     about pricing breakdowns and calling for improved pricing discipline, and if such comments in the trade
28

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 1   in a 2017 press release, “RENTmaximizer has taken the guesswork out of our rental pricing and
 2   lease terms, and boosts pricing performance through an intelligent system of measurements, fixed
 3   factors and discipline.”17 Another has stated bluntly: “[t]hanks to RENTmaximizer, we have
 4   eliminated all concessions and specials.”18 Another has written: “RENTmaximizer eliminates the
 5   fear factor of exposure that is a natural concern for property and regional managers.
 6   RENTmaximizer factors in historical and relevant data to assure us that we will get the traffic and
 7   leases we need to meet our revenue goals.”19
 8           23.     Other lessors have been even more frank, acknowledging that with
 9   RENTmaximizer, they can “aggressively” raise rents in a way that would have previously been
10   impossible. For example, Brantley White, the president of lessor Ardmore Residential, a
11   multifamily housing operator located in North Carolina, stated in a 2016 Yardi press release that
12   Ardmore was able to raise rents 5-6% since its implementation of Yardi RENTmaximizer in
13   2016. White explained that “RENTmaximizer has allowed us to push rents more aggressively and
14   takes more human error out of the process.”20 He candidly acknowledged that “[w]e simply
15   wouldn’t have raised rents that much or that quickly on our own.”21
16           24.     Confidential witnesses echo this and recognize that RENTmaximizer gives lessors
17   an unfair advantage. For example, Confidential Witness 1 (“CW 1”),22 who worked as a former
18   leasing consultant for Bridge Property Management, stated that she regularly used Yardi to set
19   prices for the apartments she managed. Specifically, she would input the square footage of an
20   press are commonly followed by increasing prices shortly thereafter, that evidence could suggest that the
     participants see themselves as engaged in coordinated pricing punctuated by occasional price wars.”)
21
     (available at https://www-leland.stanford.edu/~tbres/research/buccirossi_01_ch01_001-042.pdf).
        17
22         HNN Associates, LLC Optimizes Rental Pricing Performance with Yardi RENTmaximizer, Business
     Wire (Feb. 17, 2015), https://www.businesswire.com/news/home/20150217005101/en/HNN-Associates-
23   LLC-Optimizes-Rental-Pricing-Performance-with-Yardi-RENTmaximizer (emphasis added).
        18
           See Rockbridge Group, supra note 6 (emphasis added).
        19
24         Beztak Grows Rental Income with Yardi RENTmaximizer, Business Wire (June 16, 2017), available at
     https://www.businesswire.com/news/home/20170616005099/en/Beztak-Grows-Rental-Income-with-
25   Yardi-RENTmaximizer (emphasis added).
        20
           Ardmore Residential Raises Rents 5-6% with Yardi RENTmaximizer, Business Wire (Apr. 21, 2016),
26   https://www.businesswire.com/news/home/20160421005001/en/Ardmore-Residential-Raises-Rents-5-6-
     with-Yardi-RENTmaximizer (emphasis added).
27      21
           Id.
        22
           CW 1 worked as a leasing consultant for Bridge Property Management in San Antonio, Texas, from
28   2013 to 2014.

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 1   apartment, its location, and Yardi’s system would then offer listing prices that she “just went for”
 2   without “question[ing].” CW 1 explained further that Yardi would show comparative pricing at
 3   specific competitor apartment locations and that, in her opinion, this “was not fair for renters.”
 4   She stated bluntly: “It was ridiculous. We were supposed to be helping these people who couldn’t
 5   afford a home. Instead, we were raising rents.”
 6           25.    Similarly, Confidential Witness 2 (“CW 2”),23 another former employee at Bridge
 7   Property Management, stated that the prices generated by Yardi were never questioned and could
 8   change daily. He stated that this pricing practice gave “an unfair advantage” to lessors because
 9   they “all know what they should be renting for” by using the same pricing platform.
10           26.     Lessors have also explicitly and publicly praised (a) the insight into competitors’
11   pricing that Yardi provides (i.e., Yardi’s ability to facilitate a direct exchange of current pricing
12   information between competitors) and (b) the supracompetitive returns it generates—indeed,
13   much of this praise is found in scores of Yardi press releases touting RENTmaximizer’s
14   achievements in raising rents for clients in the multifamily market. For example, in a 2016 press
15   release, Jeffrey Denson, the owner and COO of lessor Dalton Management, stated that Dalton
16   Management was able to increase rent per unit without losing business to its competitors as
17   “RENTmaximizer has . . . made Dalton Management better aware of how its properties compare
18   to the rest of the market,” explaining further that Dalton was “able to raise rents at a property we
19   thought was keeping up—now we’re getting $100 more per unit and maintaining occupancy.”24
20           27.    Similarly, a “success story” available on Yardi’s website states that lessor Avesta
21   had seen “a significant gain [in revenue] after only six months” of implementing automated
22   RENTmaximizer pricing and that, for every dollar it invested in the RENTmaximizer system,
23   Avesta “achieved a return of nearly $30.” The press release quotes Will Newton, Director of
24   Support Systems at Avesta, as stating: “[T]hanks to the revenue and leasing metrics, along with
25

26     23
           CW 2 worked as a leasing consultant for Bridge Property Management in the Seattle, Washington
     area from 2019 to 2020.
27      24
           Dalton Management Reports Increased Revenue Using Yardi RENTmaximizer, Business Wire (May
     19, 2016), https://www.businesswire.com/news/home/20160519005003/en/Dalton-Management-Reports-
28   Increased-Revenue-Using-Yardi-RENTmaximizer.

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 1   the support of our dedicated Yardi RENTmaximizer pricing specialist, we don’t leave money on
 2   the table”25:
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10            28.    In addition to their use of RENTmaximizer, Defendants also engaged in direct

11   communications with their competitors regarding their pricing in furtherance of their conspiracy.

12   Confidential witness interviews reveal that certain individual Landlord Defendants implemented a

13   regular strategy of engaging in “market surveys” of their competitors. This is consistent with the

14   long-standing academic understanding that competitors’ monitoring of each other facilitates the

15   stability of cartels: “In the half century since the seminal paper of Stigler, it has become

16   conventional wisdom that transparency in cartels - monitoring of competitors’ prices, sales, and

17   profits facilitates collusion. As [one source puts it] . . . ‘Lesser observability, including more

18   noisy signals of price cuts, makes sustaining a given supracompetitive price harder.’ This idea is

19   ubiquitous in textbooks on microeconomics . . . and antitrust law.”26

20            29.    As part of this strategy, employees of Defendants would call their competitors,

21   often on a weekly basis, and specifically ask what prices those competitors were charging. For

22   example, CW 1, a former leasing consultant for Bridge Property Management, stated that she

23   regularly conducted market surveys by “shopping” other apartment complexes, where she would

24   gather information on pricing. Similarity, CW 2, another former employee at Bridge Property

25

26      25
           Yardi, Success Stories – Avesta, https://www.yardi.com/about-us/success-stories/avesta/ (last visited
     Sept. 7, 2023).
27      26
           Sugaya, Takuo and Alexander Wolitzky. “Maintaining Privacy in Cartels.” Journal of Political
     Economy 126, 6 (December 2018): 2569-2607, available at https://wwws.law.northwestern.edu/research-
28   faculty/clbe/events/antitrust/documents/wolitzky_maintaining_privacy.pdf.

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 1   Management, recalled that he would call competitors’ complexes and ask their leasing agents for
 2   rent prices. Remarkably, Yardi competitor RealPage has defended its conduct in a separate
 3   lawsuit based on conduct similar to that alleged here by stating, among other things, that “its
 4   software helps reduce the risk of collusion that would occur if landlords relied on phone surveys
 5   of competitors to manually price their units.”27 It is axiomatic that the exchange of competitively
 6   sensitive information is illegal per se if this exchange is made in furtherance of an agreement to
 7   fix prices; indeed, in 2011, the State of Connecticut sued (and subsequently reached a settlement
 8   with) hotels for the closely analogous practice of “calling other hotels to learn their occupancy
 9   rates and what they are charging.”28
10           30.    RENTmaximizer is today widely used throughout the United States to set
11   multifamily rental prices. In 2013, for instance, Dharmendra Sawh (then Yardi’s “principal for
12   revenue management”) stated publicly that RENTmaximizer was used to manage 8 million
13   residential units around the world29—a number that is likely far higher today.30 Consistent with
14   this, a test run economic analysis confirms that collective usage of Yardi RENTmaximizer leads
15   to higher prices. Public rent data was collected over a period of several weeks in August 2023
16   from Seattle, Charlotte, and Phoenix. A regression analysis was then performed in zip codes
17   where usage of Yardi RENTmaximizer was higher than 15% of available units. The regression
18   analysis controlled for various property and geographic features, such as (1) size of the unit,
19   (2) number of bathrooms, (3) census average rent in the zip code, and (4) median income in the
20   zip code. Across over 23,000 units, the regression found an average overcharge of 6% on units
21   priced using RENTmaximizer as compared to units not priced using RENTmaximizer, including
22
       27
23         Id.
       28
           Hotels Pay Fine for Alleged Price Fixing, Heartford Courant (Aug. 11, 2011),
24   https://www.courant.com/2011/08/11/hotels-pay-fine-for-alleged-price-fixing/.
        29
           Patrick Nelson, Algorithms for Rent: The Price is Right, Tech News World (Mar. 12, 2013),
25   https://www.technewsworld.com/story/algorithms-for-rent-the-price-is-right-77498.html.
        30
           Guy Lyman, Don’t Miss This! Unveiling of “AIRM” AI Revenue Management at RealWorld,
26   RealPage, Inc. (Sept. 8, 2020), https://www.realpage.com/blog/dont-miss-this-unveiling-of-airm-ai-
     revenue-management-at-realworld/. By contrast, in September 2020, Yardi’s leading competitor
27   RealPage—which also makes a product that automatically sets residential real estate lease prices—claimed
     that its own revenue management software was used to set the price for “over four million [multifamily]
28   units.” Id.

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 1   for studio, 1-bedroom, 2-bedroom, and 3-bedroom apartments. This is closely consistent with
 2   Yardi’s repeated public statements that usage of RENTmaximizer led to a 6% average increase in
 3   net rental income:
 4          31.     Further, economic research confirms that the use of pricing algorithms leads to
 5   anticompetitive effects, including elevated prices. Modern algorithms can use artificial
 6   intelligence to reach the objective of maximizing profits without the need for human intervention.
 7   For example, a 2021 empirical study found, in line with the predictions of theoretical models, that
 8   when gas stations in Germany used algorithms to set prices, their margins increased by
 9   approximately 9%. Critically, the authors found that algorithm use only raised prices above
10   competitive levels in places where competitors adopted algorithms jointly, and thus that
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     “algorithmic pricing software adoption raises margins only through its effects on competition.”
24
            32.     Government regulators have long raised concerns about industry-wide use of
25
     algorithmic pricing. Earlier this year, for example, the Principal Deputy Assistant Attorney
26
     General of the Antitrust Division for the Department of Justice stated: “Where competitors adopt
27
     the same pricing algorithms, our concern is only heightened. Several studies have shown that
28

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 1   these algorithms can lead to tacit or express collusion in the marketplace, potentially resulting in
 2   higher prices, or at a minimum, a softening of competition.”31 Similarly, Maureen Ohlhausen,
 3   when serving as acting Chairperson of the Federal Trade Commission, explained in 2017 how
 4   multiple firms outsourcing pricing decisions to a single third-party actor—just as lessors have
 5   done with RealPage—raises significant antitrust concerns and is little different from funneling
 6   confidential pricing information through a “guy named Bob”:
 7                   What if algorithms are not used in such a clearly illegal way, but
 8                   instead effectively become a clearing house for confidential pricing
                     information? Imagine a group of competitors sub-contracting
 9                   their pricing decisions to a common, outside agent that provides
                     algorithmic pricing services. Each firm communicates its
10                   pricing strategy to the vendor, and the vendor then programs its
                     algorithm to reflect the firm’s pricing strategy. But because the
11                   same outside vendor now has confidential price strategy
12                   information from multiple competitors, it can program its
                     algorithm to maximize industry-wide pricing. In effect, the firms
13                   themselves don’t directly share their pricing strategies, but that
                     information still ends up in common hands, and that shared
14                   information is then used to maximize market-wide prices.
15                   Again, this is fairly familiar territory for antitrust lawyers, and
16                   we even have an old fashioned term for it, the hub-and-spoke
                     conspiracy. Just as the antitrust laws do not allow competitors
17                   to exchange competitively sensitive information directly in an
                     effort to stabilize or control industry pricing, they also prohibit
18                   using an intermediary to facilitate the exchange of confidential
                     business information.
19

20                   Let’s just change the terms of the hypothetical slightly to understand
                     why. Everywhere the word “algorithm” appears, please just insert
21                   the words “a guy named Bob”.

22                   Is it ok for a guy named Bob to collect confidential price strategy
                     information from all the participants in a market, and then tell
23
                     everybody how they should price? If it isn’t ok for a guy named
24

25

26
        31
           U.S. Dep’t of Justice, Principal Deputy Assistant Attorney General Doha Mekki of the Antitrust
27   Division Delivers Remarks at GCR Live: Law Leaders Global 2023 (Feb. 2, 2023), available at
     https://www.justice.gov/opa/speech/principal-deputy-assistant-attorney-general-doha-mekki-antitrust-
28   division-delivers-0.

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 1                   Bob to do it, then it probably isn’t ok for an algorithm to do it
                     either.32
 2
              33.    The Department of Justice has also recognized the significant anticompetitive
 3
     harms that may stem from centralized information exchanges. The DOJ recently brought an
 4
     enforcement action against Agri Stats, a third-party information exchange service in the broiler,
 5
     pork, and turkey industries.33 Like Yardi Matrix, Agri Stats facilitated the exchange of
 6
     competitively sensitive price and supply information between competitors. The Department of
 7
     Justice also recently filed a notice in an action against Yardi competitor RealPage, which is
 8
     alleged to have perpetuated a highly similar scheme using its “YieldStar” pricing algorithm,
 9
     stating that the United States “has a particularly substantial interest in addressing the proper
10
     application of Section 1 of the Sherman Act, 15 U.S.C. § 1, to the use of algorithms by
11
     competitors to help set pricing. Companies’ use of algorithms in price setting, often in an effort to
12
     increase pricing, has become more prevalent in the modern economy. As a result, the issues
13
     involved in this case are of increasing significance to the application of antitrust law across the
14
     economy.”34
15
              34.    Defendants’ misconduct—centered on the coordination and setting of optimal
16
     pricing through a shared, centralized decisionmaker—is not meaningfully different than a
17
     traditional hub-and-spoke price-fixing conspiracy. Because this conduct is facially
18
     anticompetitive, i.e., it produces clear anticompetitive effects and offers no procompetitive
19
     benefits, it is a naked restraint on trade that should be deemed illegal per se. But even if this
20
     conduct somehow benefitted competition and furthered consumer welfare in some minimal way
21

22

23      32
           Maureen K. Ohlhausen, Should We Fear The Things That Go Beep In the Night? Some Initial
24   thoughts on the Intersection of Antitrust law and Algorithmic Pricing, Federal Trade Commission (May
     23, 2017), https://www.ftc.gov/system/files/documents/public_statements/1220893/ohlhausen_-
25   _concurrences_5-23-17.pdf.
        33
           See U.S. Dep’t of Justice, Justice Department Sues Agri Stats for Operating Extenisve Information
26   Exchanges Among Meat Processors (September 28, 2023), available at
     https://www.justice.gov/opa/pr/justice-department-sues-agri-stats-operating-extensive-information-
27   exchanges-among-meat.
        34
           See United States’ Notice of Potential Participation (ECF No. 599), In re: RealPage Rental Software
28   Antitrust Litigation (No. II), Case No. 3:23-MD-3071 (Oct. 12, 2023).

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 1   (it does not), the anticompetitive effects would vastly outweigh any benefits and should be swiftly
 2   condemned under the rule of reason.
 3          35.     The conspiracy Plaintiffs challenge is unlawful under Section 1 of the Sherman
 4   Act. Plaintiffs bring this action as a class action on behalf of a class of individuals to recover
 5   damages, trebled, as well as injunctive and other appropriate relief, detailed infra, on behalf of all
 6   others similarly situated.
 7                                             II.     PARTIES
 8   A.     Plaintiffs
 9          36.     Plaintiff Mckenna Duffy is a citizen and resident of the State of Washington.
10   Plaintiff Duffy rented multifamily residential units in properties managed by Landlord Defendant
11   R.D. Merrill Real Estate Holdings. Plaintiff Duffy had a lease with The Wave from 2021 to 2022,
12   then with The Nolo from 2022 to the present. Plaintiff Duffy paid inflated rental prices as a result
13   of Defendant R.D. Merrill Real Estate Holdings’ usage of Yardi’s centralized pricing mechanism.
14          37.     Plaintiff Michael Brett is an Australian citizen and resident of the State of
15   Washington. Plaintiff Brett rented a multifamily residential unit in properties managed by
16   Landlord Defendant R.D. Merrill Real Estate Holdings. Plaintiff Brett signed a lease with The
17   Wave from August 2020 to November 2021. Plaintiff Brett paid inflated rental prices as a result
18   of Defendant R.D. Merrill Real Estate Holdings’ usage of Yardi’s centralized pricing mechanism.
19   B.     Defendants
20          1.      Defendant Yardi Systems, Inc.
21          38.     Defendant Yardi Systems, Inc. (“Yardi”) is a California corporation
22   headquartered in Barbara, California. Yardi provides industry-leading property management
23   software and services to the multifamily real estate industry, including the
24   RENTmaximizer/Revenue IQ revenue management software described herein.
25          2.      Landlord Defendants
26          39.     Landlord Defendant A. J. Dwoskin & Associates, Inc. (“A. J. Dwoskin”) is a
27   Virginia corporation headquartered in Fairfax, Virginia. A. J. Dwoskin is a multifamily property
28   manager and owner of more than 1,000 rental units within 11 multifamily communities

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 1   throughout the state of Virginia.35 A. J. Dwoskin is one of Yardi’s clients and used
 2   RENTmaximizer revenue management software during the Relevant Time Period.
 3             40.   Landlord Defendant Affinity Property Management, LLC (“Affinity”) is an
 4   Oregon limited liability company headquartered in Portland, Oregon. Affinity manages over 115
 5   apartment complexes in Oregon and Washington.36 Affinity is one of Yardi’s clients and used
 6   RENTmaximizer revenue management software during the Relevant Time Period.
 7             41.   Landlord Defendant Apartment Services, Inc. (“Apartment Services”) is a
 8   Maryland corporation headquartered in Hunt Valley, Maryland. Apartment Services owns and
 9   manages 40 apartment and townhome communities totaling over 7,500 units in the Greater
10   Baltimore region.37 Apartment Services is one of Yardi’s clients and used RENTmaximizer
11   revenue management software during the Relevant Time Period.
12             42.   Landlord Defendant Ardmore Residential, Inc. (“Ardmore”) is a North Carolina
13   corporation headquartered in Greensboro, North Carolina. Ardmore is a multifamily property
14   manager and owner of over 6,000 rental units in apartment communities throughout the Southeast
15   United States.38 Ardmore is one of Yardi’s clients and began using its RENTmaximizer revenue
16   management software in at least 2016.39
17             43.   Landlord Defendant Asset Living, LLC (“Asset Living”) is a Texas limited
18   liability company headquartered in Houston, Texas. Asset Living is a multifamily property
19   manager and owner of over 1,750 properties in over 40 states.40 Asset Living is one of Yardi’s
20   clients and used RENTmaximizer revenue management software during the Relevant Time
21   Period.
22

23      35
           https://www.yardi.com/about-us/success-stories/a-j-dwoskin-associates/?format=pdf (last visited Oct.
24   2, 2024).
        36
           https://www.affinityproperty.com/philosophy.aspx (last visited Mar. 4, 2025).
        37
25         https://apartmentservices.com/about-us/ (last visited Mar. 4, 2025).
        38
           https://www.ardmoreresidential.com/index.aspx (last visited May 2, 2024);
26   https://www.ardmoreresidential.com/managementteam.aspx (last visited May 2, 2024).
        39
           Ardmore Residential Raises Rents 5-6% with Yardi RENTmaximizer, Business Wire (Apr. 21, 2016),
27   https://www.businesswire.com/news/home/20160421005001/en/ArdmoreResidential-Raises-Rents-5-6-
     with-Yardi-RENTmaximizer.
28      40
           https://www.assetliving.com/property-management/multi-family (last visited May 2, 2024).

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 1             44.   Landlord Defendant Avenue5 Residential, LLC (“Avenue5”) is a Texas limited
 2   liability company headquartered in Dallas, Texas. Avenue5 is a multifamily property manager
 3   and owner of over 700 properties in over 20 states, including the State of Washington. Avenue5 is
 4   one of Yardi’s clients and used RENTmaximizer revenue management software during the
 5   Relevant Time Period.
 6             45.   Landlord Defendant Balaciano Group f/k/a California Home Builders/DEELS
 7   Properties (“Balaciano”) is a California stock corporation headquartered in Canoga Park,
 8   California. Balaciano is a multifamily property manager and owner of over 2,000 rental units
 9   within 16 apartment communities throughout the state of California.41 Balaciano is one of Yardi’s
10   clients and used RENTmaximizer revenue management software during the Relevant Time
11   Period.
12             46.   Landlord Defendant Balke Brown Transwestern, Inc. (“2B Residential”) is a
13   Missouri corporation headquartered in St. Louis, Missouri. Balke Brown Transwestern’s trade
14   name for multi-family residential services is 2B Residential. 2B Residential is a multifamily
15   property manager and owner of over 7,700 rental units in over 45 apartment communities
16   throughout the Midwest United States.42 2B Residential is one of Yardi’s clients and began using
17   its RENTmaximizer revenue management software in at least 2015.43
18             47.   Landlord Defendant Banyan Living Ohio LLC d/b/a Banyan Living (“Banyan”)
19   is a New York limited liability company headquartered in Garden City, New York. Banyan is a
20   multifamily property manager and owner of rental units throughout the United States, primarily in
21   Ohio.44 Banyan is one of Yardi’s clients and began using its RENTmaximizer revenue
22   management software in at least 2016.45
23     41
           https://balaciano.com/portfolio/ (last visited May 2, 2024).
       42
24         Balke Brown Transwestern Company Brochure, Corporate Overview 2023,
     https://online.fliphtml5.com/feylm/iooa/#p=2.
        43
25         Balke Brown Transwestern Selects Yardi RENTmaximizer for Better Service and Clear Results,
     Business Wire (Mar. 3, 2015), https://www.businesswire.com/news/home/20150303005003/en/Balke-
26   Brown-Transwestern-Selects-Yardi-RENTmaximizer-for-Better-Service-and-Clear-Results.
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           https://livebanyan.com/about/ (last visited May 2, 2024).
27      45
           Banyan Living Achieves Rent Growth with Yardi RENTmaximizer, Business Wire (December 13,
     2016), https://www.businesswire.com/news/home/20161213005313/en/Banyan-Living-Achieves-Rent-
28   Growth-with-Yardi-RENTmaximizer.

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 1             48.   Landlord Defendant Bridge Property Management, L.C. (“Bridge Property”) is
 2   a Utah limited liability company headquartered in Sandy, Utah. Bridge Property is a multifamily
 3   property manager and owner of over 60,000 rental units within 169 apartment communities over
 4   20 states throughout the United States.46 Bridge Property is one of Yardi’s clients and used
 5   RENTmaximizer revenue management software during the Relevant Time Period.47
 6             49.   Landlord Defendant Calibrate Property Management, LLC (“Calibrate”) is a
 7   Washington limited liability company headquartered in Kirkland, Washington. Calibrate manages
 8   approximately 1,900 units in four states and is “rapidly growing.”48 Calibrate is one of Yardi’s
 9   clients and used RENTmaximizer revenue management software during the Relevant Time
10   Period.
11             50.   Landlord Defendant Concord Management, Ltd. (doing business as
12   ConcordRENTS) (“Concord”) is a Florida Limited Partnership headquartered in Maitland,
13   Florida. Concord manages over 100 apartment complexes throughout Florida.49 Concord is one of
14   Yardi’s clients and used RENTmaximizer revenue management software during the Relevant
15   Time Period.
16             51.   Landlord Defendant Creekwood Property Corporation (“Tonti Properties”) is a
17   Texas corporation headquartered in Dallas, Texas. Creekwood Property Corporation’s trade name
18   is Tonti Properties. Tonti Properties manages 17 properties in Arizona, Colorado, Florida,
19   Louisiana, and Texas. Tonti Properties is one of Yardi’s clients and began using its
20   RENTmaximizer revenue management software beginning in at least 2016.50
21             52.   Landlord Defendant Dalton Management, Inc. (“Dalton”) is an Oregon
22   corporation headquartered in Beaverton, Oregon. Dalton manages over 15 apartment complexes
23
       46
24        https://www.bridgepm.com/whoweare (last visited May 2, 2024).
       47
          Bridge Property Management Gains 9.4% Year-Over-Year Rental Growth with Yardi
25   RENTmaximizer, Business Wire (Sept. 29, 2015), https://www.businesswire.com/news/home/
     20150929005288/en/Bridge-Property-Management-Gains-9.4-Year-Over-Year-Rental-Growth-with-
26   Yardi-RENTmaximizer.
       48
          https://calibratemanagement.com/ (last visited Sept. 7, 2023).
27     49
          https://www.concordrents.com/about-us (last visited Mar. 4, 2025).
       50
          Tonti Properties Increases Rental Income with Yardi RENTmaximizer, Business Wire (June 14,
28   2016), https://www.businesswire.com/news/home/20160614005001/en/.

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 1   throughout California, Oregon, and Washington.51 Dalton is one of Yardi’s clients and began
 2   using its RENTmaximizer revenue management software in at least 2016.52
 3             53.   Landlord Defendant Dweck Properties, Ltd. (“Dweck”) is a Virginia corporation
 4   headquartered in Washington DC. Dweck manages over 6,600 apartment homes and
 5   complementary retail spaces in the Washington DC metro region.53 Dweck is one of Yardi’s
 6   clients and used RENTmaximizer revenue management software during the Relevant Time
 7   Period.
 8             54.   Landlord Defendant Edward Rose & Sons (“Edward Rose”) is a Michigan
 9   corporation headquartered in Bloomfield Hills, Michigan. Edward Rose is a multifamily property
10   manager and owner of over approximately 65,000 rental units in approximately 142 properties
11   throughout approximately 18 states of Alabama, Arkansas, Florida, Illinois, Indiana, Iowa,
12   Kansas, Michigan, Nebraska, North Carolina, Ohio, South Carolina, Tennessee, Virginia,
13   Washington, and Wisconsin.54 Edward Rose is one of Yardi’s clients and began using its
14   RENTmaximizer revenue management software beginning in at least 2021.55
15             55.   Landlord Defendant Envolve Communities, LLC d/b/a Envolve LLC
16   (“Envolve”) is an Alabama limited liability company headquartered in Montgomery, Alabama.
17   Envolve is a vertically integrated owner and operator of multi-family housing.56 Envolve is a
18   multifamily property manager and owner of over 28,000 residential units in approximately 106
19   properties throughout 18 states including Alabama, Arkansas, Florida, Georgia, Illinois,
20   Kentucky, Louisiana, Maryland, Michigan, Mississippi, Missouri, Nebraska, New Mexico, Ohio,
21

22

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       51
24         https://daltonmngt.com (last visited Sept. 7, 2023).
       52
           Dalton Management Reports Increased Revenue Using Yardi RENTmaximizer, Business Wire (May
25   19, 2016), https://www.businesswire.com/news/home/20160519005003/en/Dalton-Management-Reports-
     Increased-Revenue-Using-Yardi-RENTmaximizer.
26      53
           https://www.dweckproperties.com/about (last visited Mar. 4, 2025).
        54
           https://www.edwardrose.com/searchlisting; https://www.yardi.com/blog/news/edward-rose-
27   sons/29827.html (last visited Oct. 7, 2024).
        55
           https://www.yardi.com/blog/news/edward-rose-sons/29827.html (last visited Oct. 7, 2024).
28      56
           https://www.envolvecommunities.com/propertymanagement (last visited Oct. 8, 2024).

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 1   Oklahoma, Tennessee, Texas, and Virginia. 57 Envolve is one of Yardi’s clients and began using
 2   its RENTmaximizer revenue management software beginning in at least 2012.58
 3            56.    Landlord Defendant FPI Management, Inc. (“FPI”) is a California corporation
 4   headquartered in Folsom, California. FPI is a multifamily property manager and owner of over
 5   165,000 rental units throughout 23 states. FPI is one of Yardi’s clients and used RENTmaximizer
 6   revenue management software during the Relevant Time Period.
 7            57.    Landlord Defendant GHP Management Corporation (“GHP”) is a California
 8   corporation headquartered in Los Angeles, California. GHP manages over 11,000 apartment
 9   complexes throughout the Los Angeles, California, area. GHP is one of Yardi’s clients and used
10   RENTmaximizer revenue management software during the Relevant Time Period.
11            58.    Landlord Defendant Goodman Real Estate, Inc. (“Goodman”) is a Washington
12   corporation headquartered in Seattle, Washington. Goodman manages more than 100 apartment
13   complexes nationwide through its wholly owned subsidiary, GRE Management, LLC.59 Goodman
14   is one of Yardi’s clients and used RENTmaximizer revenue management software during the
15   Relevant Time Period.
16            59.    Landlord Defendant GRE Management, LLC (“GRE”) is a Washington limited
17   liability company headquartered in Seattle, Washington. GRE is a wholly owned subsidiary of
18   Goodman Real Estate, Inc. and manages more than 100 apartment complexes nationwide.60 GRE
19   is one of Yardi’s clients and used RENTmaximizer revenue management software during the
20   Relevant Time Period.
21            60.    Landlord Defendant Greystar Management Services, LLC (“Greystar”) is a
22   South Carolina limited liability company headquartered in South Carolina. Greystar is a
23   multifamily property manager and owner of 823,581 rental units across the United States,
24

25
        57
           https://www.envolvecommunities.com/searchlisting (last visited Oct. 8, 2024);
26   https://www.yardi.com/about-us/success-stories/envolve-llc/?format=pdf (last visited Oct. 8, 2024).
        58
           See https://www.yardi.com/about-us/success-stories/envolve-llc/?format=pdf (last visited Oct. 8,
27   2024).
        59
           https://goodmanre.com/about/ (last visited Mar. 4, 2025).
28      60
           https://goodmanre.com/about/ (last visited Mar. 4, 2025).

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 1   including the State of Washington. Greystar is one of Yardi’s clients and used RENTmaximizer
 2   revenue management software during the Relevant Time Period.
 3           61.    Landlord Defendant Grubb Properties, LLC (“Link Apartments”) is a North
 4   Carolina limited liability company headquartered in Cary, North Carolina. Grubb Properties,
 5   LLC’s trade name is Link Apartments. Link Apartments is a multifamily property manager and
 6   owner of 11 properties in District of Columbia, Georgia, North Carolina, South Carolina,
 7   Tennessee, and Virginia.61 Grubb is one of Yardi’s clients and began using its RENTmaximizer
 8   revenue management software beginning in at least 2015.62
 9           62.    Landlord Defendant Guardian Management, LLC (“Guardian”) is an Oregon
10   limited liability company headquartered in Portland, Oregon. Guardian is a multifamily property
11   manager of at least 124 properties in states including Arizona, Oregon, and Washington.63
12   Guardian is one of Yardi’s clients and began using its RENTmaximizer revenue management
13   software beginning in at least 2015.64
14           63.    Landlord Defendant HNN Associates, LLC (“HNN”) is a Washington limited
15   liability company headquartered in Bellevue, Washington. HNN manages the 52 properties
16   owned by Devco Residential Group, LLC in Washington state.65 HNN is one of Yardi’s clients
17   and began using its RENTmaximizer revenue management software in at least 2015.66
18           64.    Landlord Defendant KRE Group, Inc. d/b/a Kushner Real Estate Group (“KRE”)
19   is a New Jersey corporation headquartered in Jersey City, New Jersey.67 KRE is a multifamily
20
       61
           https://www.grubbproperties.com/about-link-apartments (last visited May 2, 2024).
21     62
           Grubb Properties Maximizes Pricing, Achieves Longer Lease Terms with Yardi RENTmaximizer,
22   Business Wire (December 1, 2015),
     https://www.businesswire.com/news/home/20161213005313/en/Banyan-Living-Achieves-Rent-Growth-
23   with-Yardi-RENTmaximizer.
       63

24   https://properties.gres.com/searchlisting.aspx?ftst=&LocationGeoId=0&zoom=10&autoCompleteCorpPro
     pSearchlen=3&renewpg=1&PgNo=3&LatLng=(38.7945952,-106.5348379)& (last visited Oct. 7, 2024).
        64
25         https://www.yardi.com/about-us/success-stories/guardian-on-rightsource/?format=pdf (last visited
     Oct. 8, 2024).
26      65
           https://www.lifeisbetterhere.com/ourproperties.aspx (last visited Sept. 7, 2023).
        66
           HNN Associates, LLC Optimizes Rental Pricing Performance with Yardi RENTmaximizer, Business
27   Wire (February 17, 2015), https://www.businesswire.com/news/home/20150217005101/en/HNN-
     Associates-LLC-Optimizes-Rental-Pricing-Performance-with-Yardi-RENTmaximizer.
28      67
           https://thekregroup.com/ (last visited May 2, 2024).

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 1   property manager and owner of approximately 22 rental properties in New Jersey and
 2   Pennsylvania. KRE is one of Yardi’s clients and began using its RENTmaximizer revenue
 3   management software beginning in at least 2017.68
 4           65.    Landlord Defendant LumaCorp, Inc. d/b/a Luma Residential (“Luma”) is a Texas
 5   corporation headquartered in Dallas, Texas.69 Luma is a multifamily property manager and owner
 6   of approximately 24 rental properties in Texas. Luma is one of Yardi’s clients and began using its
 7   RENTmaximizer revenue management software beginning in at least 2015.70
 8           66.    Landlord Defendant Manco Abbott, Inc. (“Manco Abbott”) is a California
 9   corporation headquartered in Fresno, California. Manco Abbott is one of Yardi’s clients and
10   began using its RENTmaximizer revenue management software in at least 2015.71
11           67.    Landlord Defendant McWhinney Property Management, LLC (“McWhinney”)
12   is a Colorado limited liability company headquartered in Denver, Colorado. McWhinney is a
13   multifamily property manager and owner of approximately 19 properties throughout the states of
14   Colorado and California.72 McWhinney is one of Yardi’s clients and used RENTmaximizer
15   revenue management software during the Relevant Time Period.
16           68.    Landlord Defendant Morguard Management Company Inc. (“Morguard”) is a
17   Louisiana corporation headquartered in Metairie, Louisiana. Morguard manages more than 19,000
18   apartment homes in more than 30 locations across the United States.73 Morguard is one of Yardi’s
19   clients and began using its RENTmaximizer revenue management software in at least 2015.74
20

21     68
           KRE Group Grows Profits and Occupancy with Yardi RENTmaximizer, Business Wire (Mar. 14,
22   2017), https://www.businesswire.com/news/home/20170314005389/en/KREGroup-Grows-Profits-and-
     Occupancy-with-Yardi-RENTmaximizer.
        69
23         https://lumapm.com/# (last visited May 2, 2024).
        70
           LumaCorp Inc. Reports Revenue, Marketing and Processing Benefits with Yardi Multifamily Solution
24   Products, Business Wire (Feb. 15, 2015)
     https://www.businesswire.com/news/home/20150225005192/en/LumaCorp-Inc.-Reports-Revenue-
25   Marketing-and-Processing-Benefits-with-Yardi-Multifamily-Solution-Products.
        71
           Manco Abbott Inc. Achieves Rental Growth, Gains Expert Pricing Insight with Yardi
26   RENTmaximizer, supra note 14.
        72
           https://mcwhinney.com/portfolio/?company=multifamily (last visited May 2, 2024).
27      73
           https://www.morguardliving.com/ (last visited Mar. 5, 2025).
        74
           See Morguard North American Residential Real Estate Investment Trust, Q4 2015 Earnings Call
28   (Feb. 18, 2016).

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 1            69.    Landlord Defendant Oakland Management Corp. d/b/a Beztak Management
 2   Company (“Beztak”) is a Michigan corporation headquartered in Farmington Hills, Michigan.
 3   Beztak is a multifamily property manager and owner of over 38,000 rental units in apartment
 4   communities throughout the United States.75 Beztak is one of Yardi’s clients and began using its
 5   RENTmaximizer revenue management software in at least 2017.76
 6            70.    Landlord Defendant PRG Real Estate Management, Inc. (“PRG”) is a
 7   Pennsylvania business corporation headquartered in Philadelphia, Pennsylvania. PRG is a
 8   multifamily property manager and owner of over 10,000 rental units within apartment
 9   communities throughout six states.77 PRG is one of Yardi’s clients and began using its
10   RENTmaximizer revenue management software in at least 2016.78
11            71.    Landlord Defendant RAM Partners, LLC (“RAM”) is a Georgia limited liability
12   company headquartered in Atlanta, Georgia. RAM is a multifamily property manager, investor,
13   and property owner of over 70,000 apartment communities across 21 states, including Georgia.
14   RAM is one of Yardi’s clients and used RENTmaximizer revenue management software during
15   the Relevant Time Period.
16            72.    Landlord Defendant R.D. Merrill Real Estate Holdings, LLC (hereafter referred
17   to as “Pillar Properties”) is a Washington limited liability company headquartered in Seattle,
18   Washington. Under the registered trade name “Pillar Properties,” R.D. Merrill manages 2,114
19   units.79 Pillar Properties is one of Yardi’s clients and began using its RENTmaximizer revenue
20   management software in at least 2016.80
21

22      75
           Beztak Properties, Beztak Corporate Brochure (2022), https://beztak.com/beztak-corporate-
23   brochure/.
        76
           Beztak Grows Rental Income with Yardi RENTmaximizer, supra note 19.
        77
24         https://www.prgrealestate.com/ (last visited May 2, 2024).
        78
           PRG Real Estate Increase Rental Income with Yardi RENTmaximizer, Business Wire (Sept. 15,
25   2016), https://www.businesswire.com/news/home/20160915005085/en/PRG-Real-Estate-Increases-
     Rental-Income-with-Yardi-RENTmaximizer.
26      79
           https://www.pillarproperties.com (last visited Sept. 7, 2023).
        80
           Yardi, Pillar Properties on Elevate, https://www.yardi.com/about-us/success-stories/pillar-properties-
27   on-elevate/; Yardi, Empowering Our Clients: Pillar Properties & RENTmaximizer (Sept. 21, 2016),
     https://www.facebook.com/Yardi/videos/empowering-our-clients-pillar-properties-
28   rentmaximizer/1219283938135317/.

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 1           73.    Landlord Defendant RPM Living, LLC (“RPM”) is a Texas limited liability
 2   company headquartered in Austin, Texas. RPM is a multifamily property manager, investor and
 3   property owner of over 225,000 apartment units across 30 states, including the State of
 4   Washington. RPM is one of Yardi’s clients and used RENTmaximizer revenue management
 5   software during the Relevant Time Period.
 6           74.    Landlord Defendant Sentinel Real Estate Corporation (“Sentinel”) is a New
 7   York corporation headquartered in New York, New York. Sentinel manages over 649 multifamily
 8   communities containing nearly 158,000 apartment units throughout the United States.81 Sentinel
 9   is one of Yardi’s clients and used RENTmaximizer revenue management software during the
10   Relevant Time Period.
11           75.    Landlord Defendant Singh Management Co., L.L.C. (“Singh”) is a Michigan
12   limited liability partnership headquartered in West Bloomfield, Michigan. Singh is a multifamily
13   property manager and owner of 17 properties throughout Michigan, North Carolina, and
14   Virginia.82 Singh is one of Yardi’s clients and began using its RENTmaximizer revenue
15   management software in at least 2016.83
16           76.    Landlord Defendant Southern Management Companies LLC (“Southern
17   Management”) is a Virginia corporation headquartered in McLean, Virginia. Southern
18   Management owns 77 apartment communities with approximately 25,000 apartment homes in the
19   Baltimore-Washington DC area.84 Southern Management is one of Yardi’s clients and used
20   RENTmaximizer revenue management software during the Relevant Time Period.
21           77.    Landlord Defendant Summit Management Services, Inc. (“Summit”) is an Ohio
22   corporation headquartered in Akron, Ohio. Summit manages over 4,000 units across the
23

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25
       81
          https://www.sentinelcorp.com/aboutus.aspx (last visited Mar. 4, 2025).
26     82
          https://www.singhweb.com/about-us (last visited May 2, 2024).
       83
          Singh management gains Revenue and Occupancy Growth with Yardi RENTmaximizer, Business
27   Wire (Feb. 23, 2016), https://www.businesswire.com/news/home/20160223005007/en/Singh-
     Management-Gains-Revenue-and-Occupancy-Growth-with-Yardi-RENTmaximizer.
28     84
          https://www.southernmanagement.com/about/ (last visited Mar. 4, 2025).

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 1   country.85 Summit is one of Yardi’s clients and began using its RENTmaximizer revenue
 2   management software in at least 2012.86
 3           78.    Landlord Defendant The Habitat Company LLC (“Habitat”) is an Illinois limited
 4   liability company headquartered in Chicago, Illinois. Habitat manages over 58 apartment
 5   complexes in the Chicago area.87 Habitat is one of Yardi’s clients and used RENTmaximizer
 6   revenue management software during the Relevant Time Period.
 7           79.    Landlord Defendant Towne Properties Asset Management Company, Ltd.
 8   (“Towne”) is an Ohio domestic for-profit corporation headquartered in Cincinnati, Ohio. Towne
 9   is a multifamily property manager and owner of more than 12,000 units within 98 properties
10   throughout Ohio, Kentucky, Indiana, and North Carolina.88 Towne is one of Yardi’s clients and
11   used RENTmaximizer revenue management software during the Relevant Time Period.
12           80.    Landlord Defendant Walton Communities, LLC (“Walton”) is a Georgia limited
13   liability company headquartered in Atlanta, Georgia. Walton is a multifamily property manager,
14   investor and property owner of over 30 properties throughout the State of Georgia. Walton is one
15   of Yardi’s clients and used RENTmaximizer revenue management software during the Relevant
16   Time Period.
17           81.    Landlord Defendant Western National Securities d/b/a Western National
18   Property Management (“Western National”) is a California corporation with its headquarters in
19   Irvine, California. Western National is a multifamily property manager, investor and property
20   owner of over 160 properties in California and Nevada. Western National is one of Yardi’s clients
21   and used RENTmaximizer revenue management software during the Relevant Time Period.
22           82.    Landlord Defendant Willow Bridge Property Company National d/b/a Lincoln
23   Property Company (“Lincoln”) is a Texas limited liability company with its headquarters in
24   Dallas, Texas. Lincoln is a multifamily property manager, investor and property owner of over
25
       85
          https://summitmanagementliving.com/ (last visited Sept. 7, 2023).
26     86
          Yardi RENTmaximizer Gives Summit Management Services Inc. New Rental Pricing Insight,
     Business Wire (January 31, 2012), https://www.businesswire.com/news/home/20120131006159/en/Yardi-
27   RENTmaximizer-Gives-Summit-Management-Services-Inc.-New-Rental-Pricing-Insight.
       87
          https://www.habitat.com/management (last visited Mar. 4, 2025).
28     88
          https://www.towneproperties.com/ (last visited May 2, 2024).

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 1   180,000 apartment units in over 20 states, including the State of Washington. Lincoln is one of
 2   Yardi’s clients and used RENTmaximizer revenue management software during the Relevant
 3   Time Period.
 4            83.     Landlord Defendant Woodward Management Partners, LLC (“Woodward”) is a
 5   Georgia limited liability company headquartered in Atlanta, Georgia. Woodward manages over
 6   50 apartment complexes in five southeastern states, including Georgia, Tennessee, North
 7   Carolina, and Florida.89 Woodward is one of Yardi’s clients and used RENTmaximizer revenue
 8   management software during the Relevant Time Period.
 9            3.      Co-Conspirators and Agents
10            84.     Co-conspirators John Does 1-100 are those property managers and/or owners who
11   are Yardi’s clients and have used its RENTmaximizer revenue management software. Discovery
12   will reveal the identities of these entities, which are not known to Plaintiffs.
13            85.     Defendants’ officers, directors, agents, employees, or representatives engaged in
14   the conduct alleged in this Complaint in the usual management, direction or control of
15   Defendants’ business or affairs.
16            86.     Defendants are also liable for acts done in furtherance of the alleged conspiracy by
17   companies they acquired through mergers and acquisitions.
18            87.     When Plaintiffs refers to a corporate family or companies by a single name in this
19   Complaint, they are alleging that one or more employees or agents of entities within that
20   corporate family engaged in conspiratorial acts on behalf of every company in that family. The
21   individual participants in the conspiratorial acts did not always know the corporate affiliation of
22   their counterparts, nor did they distinguish between the entities within a corporate family. The
23   individual participants entered into agreements on behalf of their respective corporate families. As
24   a result, those agents represented the entire corporate family with respect to such conduct, and the
25   corporate family was party to the agreements that those agents reached.
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28     89
            https://woodwardmgt.com/; https://woodwardmgt.com/communities/ (last visited Mar. 4, 2025).

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 1           88.    Each of the Defendants acted as the agent of, co-conspirator with, or joint venture
 2   partner of the other Defendants and co-conspirators with respect to the acts, violations, and
 3   common course of conduct alleged in this Complaint. Each Defendant or co-conspirator that is a
 4   subsidiary of a foreign parent acted as the United States agent when agreeing to use Yardi
 5   RENTmaximizer at multifamily rental properties managed in the United States.
 6                                 III.   JURISDICTION AND VENUE
 7           89.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1337,
 8   as this action arises out of Section 1 of the Sherman Antitrust Act (15 U.S.C. § 1) and Sections 4
 9   and 16 of the Clayton Antitrust Act (15 U.S.C. §§ 15 and 26).
10           90.    This Court has personal jurisdiction over Defendants under Section 12 of the
11   Clayton Act (15 U.S.C. § 22), Federal Rule of Civil Procedure 4(h)(1)(A), and Washington’s
12   long-arm statute, the Revised Code of Washington § 4.28.185.
13           91.    Defendants, directly or through their divisions, subsidiaries, predecessors, agents,
14   or affiliates, engage in interstate commerce in the sale of multifamily residential real estate leases.
15           92.    Venue is proper in this District pursuant to Section 12 of the Clayton Act (15
16   U.S.C. § 22) and the federal venue statute (28 U.S.C. § 1391), because one or more Defendants
17   maintain business facilities, have agents, transact business, and are otherwise found within this
18   District and certain unlawful acts alleged herein were performed and had effects within this
19   District.
20                                  IV.     FACTUAL BACKGROUND
21   A.      Yardi’s RENTmaximizer is widely used in the national multifamily rental market to
             set lessors’ prices.
22
             93.    Defendant Yardi Systems, Inc. (“Yardi”) develops, sells, and supports real estate
23
     investment management and property management software. Its clients are managers of
24
     residential rental apartments, to which it offers products for, among other things, managing
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     operations, executing leases, running analytics, and providing various resident and tenant
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     services.
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 1            94.    Yardi was founded in 1984. That same year, Yardi created “Basic Property
 2   Management” software for the Apple II computer.90 Since that time, Yardi has developed a
 3   widely used property management software, Yardi “Voyager,” that allows multifamily residential
 4   property managers to “[c]entralize operational, financial, leasing, and maintenance
 5   management . . . in a single database,” as well as handle “marketing, screening, insurance,
 6   revenue management, business intelligence, and more[.]”91 It “offers unrivaled solutions for
 7   residential property management, built into a single, mobile software platform.”92
 8            95.    Yardi advertises its Voyager software as the “most advanced and widely adopted
 9   residential property management [software as a service93] platform with built-in accounting, real-
10   time performance analysis and complete mobility.”94
11            96.    Yardi’s dominance in the property management software market is reflected in the
12   fact that Yardi has been sued by multiple rivals for monopolization in that market. In 2011,
13   RealPage, a company that also provides various property management services, asserted
14   counterclaims against Yardi for Yardi’s attempts to use its dominant position over Voyager
15   software users to coerce them into signing contracts that prevent Voyager users from using
16   competitors’ products.95 Real Page stated that Yardi had a dominant market position in the
17   property management software market due to the “widespread adoption of its Voyager software,”
18
        90
           Yardi, Leadership Team, https://www.yardi.com/about-us/leadership-team/ (last visited Sept. 7,
19   2023).
        91
           See Yardi, Voyager Residential, https://www.yardi.com/products/yardi-voyager-residential/ (last
20   visited Sept. 7, 2023).
        92
           Yardi, Voyager, https://www.yardi.com/products/yardi-voyager/.
21      93
           “Software as a service” (“SaaS”) is a “cloud based software delivery model that allows end users to
22   access software applications over the internet” via remote servers (e.g., via a web browser or mobile app)
     rather than requiring that the software be downloaded and installed. See SalesForce, What is Saas?,
23   https://www.salesforce.com/in/saas/ (last visited Sept. 7, 2023). Yardi transitioned Voyager to a SaaS
     model in approximately 2012. See Yardi, Press Release, Yardi Announces Voyager SaaS and Private
24   Cloud Solutions (Mar. 22, 2012), https://www.yardi.com/news/yardi-announces-voyager-saas-and-private-
     cloud-solutions/.
        94
25         Yardi, Voyager Residential, https://www.yardi.com/products/yardi-voyager-residential/ (last visited
     Sept. 7, 2023). Yardi also makes a separate program for multifamily property managers, Yardi “Elevate,”
26   that it advertises as an “all-in-one solution for asset management . . . . designed for CEOs, COOs, asset
     managers, and other operational managers.” See Yardi, Why Elevate?, https://www.yardielevate.com/why-
27   yardi-elevate/ (last visited Sept. 7, 2023).
        95
           RealPage, Inc’s Opp’n to MTD, Yardi Systems, Inc. v. RealPage, Inc., No. CV11-690 ODW (C.D.
28   Cal. 2011).

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 1   and the massive costs associated with transferring data and information Yardi users would incur if
 2   they choose to switch software. RealPage explained that the high switching costs that Yardi
 3   Voyager users face have effects beyond users themselves:
 4                  Many large institutional property owners and investors do not
                    manage properties themselves, but instead hire professional
 5                  property management firms to manage their properties for a fee
                    (“fee managers”). These institutional owners and investors
 6                  frequently use Yardi’s Voyager Back Office Accounting Software
                    themselves in order to monitor their investments. To ensure that they
 7                  maintain a single system of record throughout their portfolio, these
                    institutional owners and investors often require their fee managers
 8                  to also use Yardi’s Voyager Back Office Accounting Software.
                    Once these fee managers adopt Yardi’s Voyager Back Office
 9                  Accounting Software, they face two layers of lock-in: lock-in due to
                    switching costs, and lock-in because the institutional owners are
10                  themselves locked into the use of Voyager Back Office Accounting
                    Software and mandate that their fee managers use it as well. Thus, a
11                  fee manager that wishes to stop using Voyager Back Office
                    Accounting Software faces two virtually insurmountable obstacles:
12                  (1) switching costs that would take years to recoup, and (2) a
                    significant loss of business from institutional owners and investors
13                  that are, themselves, locked-in to using Voyager Back Office
                    Accounting Software and will not work with fee managers who do
14                  not also license and use Voyager Back Office Accounting Software.
                    The effects of this double lock-in problem on fee managers are
15                  pronounced. To illustrate, when looking at the total number of
                    apartment units managed by the top 50 property managers, over
16                  75% of those that are fee managed (over 1.1 million units) are
                    managed using Yardi’s Voyager Back Office Accounting Software.
17                  Yardi’s dominance is even more apparent when looking at the total
                    number of apartment units managed by the top 25 property
18                  managers (those most likely to fee manage for major institutional
                    property owners): among that subset, over 90% of those units that
19                  are fee managed are managed using Yardi’s Voyager Back Office
                    Accounting Software.96
20
             97.    In 2015, Entrata, a company that also provides various property management
21
     services, brought antitrust claims against Yardi for monopolization. Entrata stated that Yardi has
22
     been a dominant provider of residential property management software and was used by in excess
23
     of 60% of the multifamily housing industry.97 As of 2016, more than eight million residential
24
     units were managed using Yardi software, and more than 1,650 property management customers
25

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       96
           RealPage Inc’s Second Amended Counterclaim, ¶ 26, Yardi Systems, Inc. v. RealPage, Inc., No.
27   CV11-690 ODW (C.D. Cal. 2011).
        97
           Plaintiff’s First Amended Complaint, ¶ 24, Entrata v. Yardi Systems, No. 2:15-cv-00102-CW (D.
28   Utah 2015).

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 1   are using Yardi Voyager 7S.98 Those numbers are likely far higher today: an October 31, 2023
 2   press release states that Yardi has “over 15 million units on its platform.”99
 3           98.    In 2011, Yardi launched a new “revenue management system” integrated into the
 4   Yardi Voyager platform called “Yardi RENTmaximizer.”100 According to a press release
 5   announcing its release, RENTmaximizer was a tool intended to “automate[] the rental pricing
 6   process” and help “multifamily property managers maximize rental income” by “increasing a
 7   multifamily property owner’s revenue by 3 to 6 percent”101—that is, RENTmaximizer effectively
 8   transfers the management of rental pricing from a landlord to Yardi itself. Specifically, the press
 9   release explained that RENTmaximizer:
10                  helps apartment owners and managers set prices directly from the
11                  trends of supply, demand and market conditions (i.e., market
                    comparisons). Using pricing algorithms, this holistic trends-and-
12                  rules-based model helps multifamily property managers maximize
                    rental income and occupancy by pricing each new and renewal lease
13                  for maximum revenue. Yardi RENTmaximizer also provides
                    complete transparency into how the price was determined to further
14                  facilitate the leasing process.102
15           99.    According to Dharmendra Sawh, one of two experts Yardi had then recently hired
16   to help launch RENTmaximizer, RENTmaximizer represented Yardi’s attempt to make
17   “automated rental pricing a key element of the [Yardi] platform.”103 Similarly, in a 2016 press
18   release announcing one lessor’s (the Rockbridge Group) adoption of RENTmaximizer, Terri
19   Dowen, then Yardi’s senior vice president of sales, explained that “[b]y automating rental pricing
20   that factors in portfolio and market data, RENTmaximizer not only improves rental income while
21   maintaining occupancy, it simplifies the process by eliminating rent rate guesswork and
22   traditional sales devices such as concessions and specials.”104
23
       98
24         Id. ¶ 18.
       99
           Yardi, Yardi Announces the Elimination of ACH Rent Payment Fees (Oct. 31, 2023),
25   https://www.yardi.com/news/press-releases/yardi-announces-the-elimination-of-ach-rent-payment-fees/
     (last visited Nov. 2, 2023).
26      100
            Yardi Adds Two Revenue Management Experts to its Yardi RENTmaximizer Team, supra note 5.
        101
            Id.
27      102
            Id.
        103
            Id.
28      104
            See Rockbridge Group, supra note 6.

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 1           100.   In a since-deleted post from 2015 on its corporate blog, Yardi elaborated on the
 2   importance of automated pricing, posing the rhetorical question: “If you have to approve prices
 3   from your pricing technology, do you really have a pricing system?” It went on to note that “[o]ne
 4   of the fundamental design elements of the Yardi RENTmaximizer™ revenue management system
 5   is to remove the need for human intervention wherever possible. The revenue manager support
 6   team has many configuration options at its disposal in order to establish a performance level that
 7   meets the strategic objectives for pricing your property.” Another portion of the post elaborates
 8   further:
 9                  Efficiency Through Technology

10                  Technology is supposed to make us more efficient in how we apply
                    our expensive human labor. When you pay double for technology
11                  plus for someone to approve that technology’s output, you are not
12                  getting efficiency out of the technology. This is akin to a pilot having
                    to approve the actions of the autopilot prior to the autopilot making
13                  the adjustments. While the pilot should check the overall progress
                    of the autopilot once in a while to make sure things stay on track,
14                  requiring constant supervision and approval makes no sense.
15
                    We encourage our clients to be actively engaged in their pricing
16                  activity. We think it is critical for a person to keep watch over any
                    automated system to ensure that its inputs are in line with the pricing
17                  strategy for a property. However, we do not believe it is an efficient
                    use of a person’s time to be trained or to have to keep up to date with
18                  the technical nuances and options the technology uses to convert the
                    strategic vision into actual pricing action. That is why Yardi supplies
19
                    a technical specialist who is well-versed in the pricing engine
20                  technology. We feel that our clients’ time is more valuable in
                    making sure the overall pricing activity supports the company’s
21                  business objectives.105
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       105
            Yardi, The RENTmaximizer Pricing System: Establishing an Automated Pricing System (Mar. 1,
27   2015), available at
     https://web.archive.org/web/20210302112741/https://www.yardi.com/blog/uncategorized/the-
28   rentmaximizer-pricing-system/12666.html.

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 1             101.   Yardi continues to emphasize the automated nature of the pricing adjustments
 2   provided by RENTmaximizer. For example, in a private 2023 presentation to a potential client,
 3   Yardi touted that the software “automates profitable decision-making across your organization”
 4   while providing “full visibility into . . . your competitive position in the market”:
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22             102.   On information and belief, RENTmaximizer is today widely used throughout the
23   United States to set multifamily rental prices. In 2013, for instance, Dharmendra Sawh (then
24   Yardi’s “principal for revenue management”) stated publicly that RENTmaximizer was used to
25   price 8 million residential units around the world.106 Two years later, in a now-deleted blog post
26   on Yardi’s website, Yardi staff wrote that “Yardi RENTmaximizer was quickly adopted by Yardi
27

28     106
             Nelson, supra note 29.

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 1   clients from the beginning” and that “its adoption rate continues to grow exponentially,” and
 2   identified six exemplar markets (Northern Virginia, North Dallas, West Houston, Denver,
 3   Phoenix, and Orange County) “in which a significant number of properties use Yardi
 4   RENTmaximizer.”107
 5            103.   As a recognized “market leader in real estate technology,”108 it is reasonable to
 6   believe that RENTmaximizer is used far more widely today. By contrast, in September 2020,
 7   Yardi’s leading competitor RealPage—which also makes a product that automatically sets
 8   residential real estate lease prices—claimed that its own revenue management software was used
 9   to set the price for “over four million [multifamily] units.”109 Consistent with this, CW 7, who
10   worked at Yardi between 2019 and 2021 as a senior account executive, stated that she saw clients
11   moving from RealPage’s YieldStar product to RENTMaximizer during her time at Yardi, and that
12   RENTMaximizer “performed equally as well as our competitors” from a sales perspective,
13   according to the reports Yardi’s marketing team shared internally.
14            104.   According to Yardi’s publicly available promotional materials, a key input to
15   RENTmaximizer’s pricing algorithm, or “engine,” is competitor pricing data. Specifically,
16   RENTmaximizer asks users to input their data, such as rental rates and occupancy, into its system;
17   meanwhile, the system automatically incorporates market-specific information on “comparative
18   rent” to, in Yardi’s words, give users “accurate and timely information regarding your market—
19   including every comp and how you compete”110—or what it also calls “complete visibility,”
20   including “performance benchmarking” “compared to the market, submarket, and competition”:
21

22

23
        107
24          Yardi, Yardi RENTmaximizer Market Analysis: 2013 Performance Results, The Balance Sheet:
     Yardi Corporate Blog (Mar. 1, 2015), available at
25   https://web.archive.org/web/20210302115856/https://www.yardi.com/blog/uncategorized/yardi-
     rentmaximizer-market-analysis/12670.html.
26      108
            Redirect Consulting, The Year in Yardi: 2017 Edition, https://www.redirectconsulting.com/hubfs/
     eBooks/2017/yardi%202017/redirect_ebook_This-Year-in-Yardi_2018-06-27.pdf (last visited Sept. 7,
27   2023).
        109
            Lyman, supra note 30.
28      110
            Yardi Elevate, supra note 10.

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12             105.    Leveraging data gathered from RENTmaximizer users as well as comparative rent,
13   RENTmaximizer’s rental pricing algorithm then calculates a “rent recommendation” that users
14   can—and are encouraged to—automatically adopt. These prices are updated “daily.” In an
15   alternative version of the same presentation above available on Yardi’s website, Yardi
16   prominently advertises that RENTmaximizer’s “pricing engine” operates on a positive “feedback
17   loop” that allow users to “beat the market by a minimum of 2%” and “gain[] on average more
18   than 6% net rental income”111:
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             Yardi Multifamily Suite, supra note 8.

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 1           106.   Similarly, in a 2018 press release, Yardi noted that its pricing algorithm generates
 2   rents that “maximize rental income” for a user (including Landlord Defendants),112 and that its
 3   process is “transparent” to property managers so that “they can understand what factors are
 4   influencing pricing.”113 Other Yardi promotional materials also emphasize the extent to which
 5   Yardi gives its clients access and insight into competitor data. For example, a separate 2017 Yardi
 6   press release touts the fact that RENTmaximizer “lets clients know their markets in real time,
 7   including how they compare with competing communities”:
 8                  Yardi RENTmaximizer helps clients drive revenue with clear,
 9                  comprehensive metrics focusing on operational components
                    including rental income, concessions, occupancy and rental rates —
10                  not just pricing. The system tracks rent movement and lets clients
                    know their markets in real time, including how they compare with
11                  competing communities.
12                  According to Sarah Oglesby-Battle, executive vice president of
13                  Beztak’s management division, “In the last 12 months, we’ve grown
                    to over 17,000 multifamily units under management. With
14                  RENTmaximizer, we have a dynamic system that pushes rents
                    without sacrificing occupancy, which gives our staff confidence.
15                  With automated pricing, RENTmaximizer eliminates the fear factor
                    of exposure that is a natural concern for property and regional
16                  managers. RENTmaximizer factors in historical and relevant data to
17                  assure us that we will get the traffic and leases we need to meet our
                    revenue goals.”114
18
             107.   A 2018 post discussing lessor DEELS Properties’ “significant rental income
19
     games” as a result of RENTmaximizer use also emphasizes that Yardi’s prices take into account
20
     “competitor rates”:
21
                    Having a mathematical process that determines and adjusts prices
22                  based on real data and ever-changing market conditions was critical
                    for DEELS. According to Hameiri, DEELS now adjusts prices daily
23                  based on a set of criteria and formulas that streamline the process.
24                  The result is up-to-date prices that take into consideration supply

25

26     112
            DEELS Properties Gets Results with Yardi RENTmaximizer, Business Wire (Feb. 26, 2018),
     https://www.businesswire.com/news/home/20180226005236/en/DEELS-Properties-Gets-Results-with-
27   Yardi-RENTmaximizer.
        113
            Id.
28      114
            Beztak Grows Rental Income with Yardi RENTmaximizer, supra note 19.

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 1                  and demand broken down by traffic, competitor rates, vacancies and
                    notices.115
 2
             108.   A publicly available Yardi user manual created by property manager Towne
 3
     Properties indicates how RENTmaximizer is used in practice to automatically set prices.116 The
 4
     manual explains that, to set price for a unit, a property manager needs to enter a specific move-in
 5
     time frame and lease term into the RENTmaximizer system, and the system will populate the
 6
     “best price” for that selected unit. It’s as simple as Yardi’s official brochure put it: “You manage
 7
     your business, we manage your pricing.”
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             109.   Similarly, other slides in the presentation indicate that, unless overridden,
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     “property pricing is controlled by” RENTmaximizer:
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       115
            Noam Hameiri, Pricing That Wins – Interview, LinkedIn (June 29, 2018), https://www.linkedin.com/
27   pulse/pricing-wins-interview-noam-hameiri-mba/ (emphasis added).
        116
            See Towne Properties Yardi Manual, available at https://docplayer.net/186429673-Towne-
28   properties-yardi-manual.html (last visited Sept. 7, 2023).

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12           110.   Public statements by other property managers indicate that RENTmaximizer is
13   commonly used to fully automate pricing, consistent with Yardi’s public statements and
14   marketing materials. For example:
15          Jennifer van Arcken, director of information systems for lessor BSR Trust, stated in a
16           2012 press release that with RENTmaximizer, “all [property managers] have to do is enter
17           some market study data every month, and RENTmaximizer does the rest.”117 According to
18           the press release, revenue across BSR Trust’s 7,000 units increased by 3.34% after
19           RENTmaximizer was implemented, and RENTmaximizer “improved business
20           performance” by, among other things, “eliminating concessions”:
21                  Yardi RENTmaximizer also improves BSR Trust’s business
22                  performance by eliminating concessions, reducing bad debt and
                    increasing occupancy. “By giving us the market rate for every unit,
23                  RENTmaximizer eliminates guesswork by our property managers,”
                    van Arcken said. “It also reduces incentive for residents to sign a
24                  lease just to get a move-in special, then leave soon after.
                    Furthermore, we’re signing more leases for 15 months rather than
25
                    the usual 12 months, meaning that high-quality residents are here
26                  for the long haul.”

27     117
            BSR Trust LLC Increases Rental Income with Yardi RENTmaximizer, Business Wire (July 19, 2023),
     https://www.businesswire.com/news/home/20120719006370/en/BSR-Trust-LLC-Increases-Rental-
28   Income-with-Yardi-RENTmaximizer.

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 1          Amanda McHugh, training and development manager of lessor Rockbridge Group, stated
 2           in a 2016 press release that Rockbridge’s adoption of RENTmaximizer allowed it to “take
 3           the guesswork out of pricing” and “eliminate[] all concessions and specials.”118 As a
 4           result, Rockbridge “achieved an average 48% increase in gross potential rent.”119
 5          Ryan Kissell, controller of lessor Summit Management Services, stated in a 2012 press
 6           release that “RENTmaximizer’s automated pricing matrix has allowed us to eliminate
 7           concessions.”120
 8          A February 5, 2014 article reports that the “revenues” of McCaffery Interests Inc., a
 9           Chicago-based real estate developer, “have been boosted by Yardi RENTmaximizer,
10           which automates the process of calculating best rents.” In the article, Yvonne Jones,
11           McCaffery’s managing director of asset and property management, stated:
12           “RENTmaximizer has pushed our site teams to think more about pricing and occupancy.
13           We’re pricing on a daily basis, whereas before we might have looked at pricing only
14           quarterly and not adjusted to increased traffic coming to the property . . . . We expect that
15           by the end of 2013 we will increase our revenues by at least 2% by having
16           RENTmaximizer in place.”121
17           111.   Finally, Landlord Defendants and Yardi appear to collectively monitor and enforce
18   compliance with Yardi’s automated pricing. Specifically, Yardi promotional materials state that
19   Yardi provides its RENTmaximizer users with “dedicated revenue managers” who regularly meet
20   and communicate with property managers regarding their pricing improvements advice to
21   “maximize returns”122:
22

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24     118
            Id.
       119
25          See Rockbridge Group, supra note 6.
        120
            Yardi RENTmaximizer Gives Summit Management Services Inc. New Rental Pricing Insight, supra
26   note 86.
        121
            McCaffery Interests Leverages Yardi’s Single-Platform Approach for Efficient Property
27   Management, FM Link (Feb. 5, 2015), https://www.fmlink.com/articles/mccaffery-interests-leverages-
     yardis-single-platform-approach-for-efficient-property-management/.
28      122
            Yardi Multifamily Suite, supra note 8.

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 7            112.    Consistent with this, Terri Dowen, senior vice president of sales for Yardi, stated

 8   in a 2017 press release that “[p]roperty managers are guided to pricing that meets business goals,

 9   with the support of a dedicated revenue manager included with our solution.”123

10            113.    Similarly, CW 7, who worked at Yardi between 2019 and 2021 as a senior account

11   executive, stated that Yardi provided revenue managers to each client that purchased

12   RENTmaximizer, and working with a revenue manager did not cost extra. Yardi revenue

13   managers “basically went through all your properties and rates” and “helped set some limits.”

14   Yardi revenue managers met with clients monthly to conduct a “pretty thorough review” of how

15   clients were using the product and whether it was working for them, CW 7 explained. Although

16   the type of employee at the client company with whom Yardi revenue managers communicated

17   varied based on the client, with larger clients, it was typically a revenue manager, CW 7 said.

18            114.    Lessors have indicated in public statements that Yardi’s pricing advisors are

19   intimately involved in their business operations. Noam Hameiri, senior vice president of

20   operations at lessor DEELS Properties, stated in a 2018 article that “the extensive reporting and

21   the weekly phone call with our dedicated RENTmaximizer expert are some of the best parts of the

22   system.”124 Adam Goldfarb, vice president for lessor Manco Abbott, stated in a 2015 press release

23   that “[h]aving a dedicated revenue manager working with us from the Yardi RENTmaximizer

24   team is a huge benefit. If our staff or property owners question any of our rates, we have our

25   Yardi RENTmaximizer expert who can dig deeper to support our pricing—and that gives our

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       123
             Beztak Grows Rental Income with Yardi RENTmaximizer, supra note 19.
28     124
             Hameiri, supra note 115.

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 1   organization and clients great confidence.”125 A 2016 press release describing lessor Singh
 2   Management’s use of RENTmaximizer likewise states that “[a]s part of using RENTmaximizer,
 3   Singh is provided a dedicated Yardi RENTmaximizer analyst. Regular meetings between the
 4   analyst and Singh’s onsite staff and regional managers provide expert insight and valuable advice
 5   where pricing improvements can be made.”126
 6   B.         Yardi and Landlord Defendants conspired to eliminate competition by outsourcing
                independent pricing and supply decisions to RENTmaximizer.
 7
                115.   In a competitive market, property managers in the multifamily market price rents
 8
     independently based on their own assessment of how best to compete with other properties—for
 9
     example, by offering concessions, specials, or otherwise lowering rents.
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                116.   As Yardi has acknowledged, competitive pressures effectively affect strategies
11
     employed by owners to optimize income.127 When demand fell during COVID-19, for example,
12
     “to maintain occupancy rates,” apartment owners employed strategies including “rolling over
13
     leases with no bump in rent and increasing use of concessions, mainly by offering periods of free
14
     rent.”128 This emphasis on maintaining occupancy rates, instead of rental prices, makes economic
15
     sense because every day a unit is left empty is, in a competitive market, a financial loss to
16
     property owners.
17
                117.   In addition, without knowing their competitors’ pricing strategies, property
18
     management companies usually need to make a judgment call and set their prices within a range
19
     that optimizes their competitive position in attracting renters. Offering lower rates and
20
     concessions are among the most effective ways to win over the race. In other words, without
21
     collusion, a property manager could not unilaterally raise rents above market rates because doing
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24        125
            Manco Abbott Inc. Achieves Rental Growth, Gains Expert Pricing Insight with Yardi
25   RENTmaximizer, supra note 14.
        126
            Singh Management Gains Revenue and Occupancy Growth with Yardi RENTmaximizer, supra note
26   83.
        127
            Yardi Matrix, Bulletin, The Rise and Fall of Concessions: Is the Market Resetting? (Jan. 2021),
27   available athttps://www.yardimatrix.com/Publications/Download/File/1190-MatrixMulti
     familyConcessionsBulletin-January2021.
28      128
            Id.

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 1   so would result in tenants lost to competitors (who offered market rates). With collusion,
 2   however, this competition is avoided.
 3            118.   To lessen competition for renters, Yardi and Landlord Defendants came up a new
 4   strategy: collectively adopt a coordinated pricing software implemented and enforced by Yardi
 5   through RENTmaximizer. The software facilitates pricing collusion by—in the words of Yardi’s
 6   own senior vice president of sales, Terri Dowen—“eliminating rent rate guesswork and traditional
 7   sales devices such as concessions and specials,”129 and consequently increasing prices for
 8   Landlord Defendants regardless of market conditions. What Ms. Dowen describes is the
 9   elimination of a pricing strategy characteristic of a competitive multifamily rental market.
10            119.   Specifically, Landlord Defendants agree to provide their competitively sensitive
11   data to RENTmaximizer with the understanding that such data will be shared with competitors.130
12   Yardi also proudly advertises that its database provides nationwide “clear and comprehensive”
13   metrics on “markets, submarkets, competition, developments, rents, occupancy and more.”131
14   Such market-specific metrics then incorporate the data an individual RENTmaximizer user enters
15   in the system, which enables Landlord Defendants to “accurately benchmark performance.”132 As
16   explained in a 2017 Yardi press release, with real-time access to competitors’ nonpublic data,
17   Yardi RENTmaximizer “lets clients know their markets in real time, including how they compare
18   with competing communities.”133
19            120.   This strategy also allows landlords to de-prioritize their traditional focus on
20   maintaining occupancy rates, the hallmark of a competitive market. In a now-deleted 2014 post
21   on Yardi’s blog titled “Revolutionary Revenue,” in which Yardi boasted about RENTmaximizer’s
22   market-beating results, Yardi recapped a July 2014 meeting at which Dharmendra Sawh (then
23   Yardi’s “principal for revenue management”):
24
        129
25          See Rockbridge Group, supra note 6.
        130
            As discussed below, CW 6 stated that all Yardi clients – or Voyager clients – contractually agree to
26   share pricing and occupancy data with Yardi and to allow Yardi to use “aggregated data” as part of Matrix
     and RENTMaximizer.
27      131
            Yardi Elevate, supra note 10.
        132
            Id.
28      133
            Beztak Grows Rental Income with Yardi RENTmaximizer, supra note 19.

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 1                  addressed the Canadian Federation of Apartment Associations’
                    Rental Housing Conference 2014 in Vancouver, British Columbia
 2                  with an introduction to revenue management and opportunities for
 3                  its use in Canadian markets. In September 10, he’ll speak on a panel
                    at the Canadian Apartment Investment Conference in Toronto,
 4                  Ontario.

 5                  “In addition to government regulation, Canadian apartments are
                    typically run with very high occupancy rates. It may require a
 6
                    change in mentality, but there are some real opportunities to realize
 7                  rent gains with the use of a revenue management solution,” Sawh
                    said.134
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             121.   Remarkably, Yardi’s own promotional materials emphasize, as noted above, that
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     Yardi allows RENTmaximizer users to “beat the market.” And more broadly, Yardi prominently
10
     advertises RENTmaximizer, and its automatic pricing algorithm, as a means to achieve
11
     supracompetitive rent growth. A 2017 promotional video states, for example, that “revenue grows
12
     on Yardi” and that (consistent with other marketing materials) clients using RENTmaximizer
13
     “have gained on average more than 6% net rental income growth”135:
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26     134
            Leah Etling, Revolutionary Revenue: Market Data Insight (Aug. 27, 2014), The Balance Sheet:
     Yardi Corporate Blog, available at
27   https://web.archive.org/web/20140908043659/https:/www.yardi.com/blog/news/revolutionary-
     revenue/11339.html (emphasis added).
28      135
            Revenue Grows on Yardi: RENTmaximizer (video), supra note 7.

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 1            122.   While discovery will reveal the specific identities and roles of all relevant
 2   participants, Yardi has operated this scheme through high-ranking personnel, including
 3   Dharmendra Sawh, Yardi’s “Industry Principal” for revenue management136 and Terri Dowen,
 4   Yardi’s senior vice president of sales. Both Sawh and Dowen heavily promoted RENTmaximizer
 5   and its impact on pricing and profitability for Landlord Defendants. According to CW 6, the sales
 6   team selling RENTmaximizer was a small group with little turnover and included, among others,
 7   Jeffrey W. Adler, Vice President of Yardi Matrix.
 8            123.   Lessors have publicly praised, consistent with Ms. Dowen’s comments, the fact
 9   that Yardi liberates them from the traditional and legal forms of competition found in a
10   competitive market (e.g., discounts and concessions) and allows them to raise prices. In other
11   words, by agreeing to implement and abide by a single, common pricing algorithm that
12   incorporates shared competitively sensitive information provided by Landlord Defendants,
13   RENTmaximizer provides Landlord Defendants with the confidence, or “discipline,” to inflate
14   rents without fearing such pricing strategy would be undercut by competitors. For example:
15           In a 2017 press release, Sarah Oglesby-Battle, executive vice president of lessor Beztak’s
16            management division, stated that “RENTmaximizer eliminates the fear factor of exposure
17            that is a natural concern for property and regional managers. RENTmaximizer factors in
18            historical and relevant data to assure us that we will get the traffic and leases we need to
19            meet our revenue goals.”137
20           In a 2017 press release, lessor KRE Group stated that it used RENTmaximizer to price
21            three New Jersey properties, and that it “appreciate[d] that RENTmaximizer takes the
22            guesswork out of pricing and automates assessments using inventory and market data.”138
23            Jason Segal, director of residential leasing for KRE Group, stated that before using Yardi
24      136
            According to Mr. Sawh’s LinkedIn profile, he is “[r]esponsible for the entire product launch of the
25   new Revenue Management Product – RENTmaximizer” and provides “[s]trategic leadership in Product
     Management, Sales, Implementation, Training, Marketing.” https://www.linkedin.com/in/dhar-sawh-
26   9a38543/.
        137
            Beztak Grows Rental Income with Yardi RENTmaximizer, supra note 19.
27      138
            KRE Group Grows Profits and Occupancy with Yardi RENTmaximizer, Business Wire (Mar. 14,
     2017), https://www.businesswire.com/news/home/20170314005389/en/KRE-Group-Grows-Profits-and-
28   Occupancy-with-Yardi-RENTmaximizer.

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 1           RENTmaximizer, “[t]here was always uncertainty about various factors including holding
 2           units, leasing notice units and structural vacancy, which really impacted the budget. With
 3           RENTmaximizer we have a tool to simplify those decisions and validate rents.”139
 4          In a 2016 press release, Amanda McHugh, training and development manager of lessor
 5           Rockbridge Group, stated that with RENTmaximizer, Rockbridge “ha[d] achieved an
 6           average 48% increase in gross potential rent” and that “[t]hanks to RENTmaximizer, we
 7           have eliminated all concessions and specials.”140
 8          In a 2015 press release, Philip Nored, owner and managing partner of Landlord Defendant
 9           HNN Associates, LLC, stated that “RENTmaximizer has taken the guesswork out of our
10           rental pricing and lease terms, and boosts pricing performance through an intelligent
11           system of measurements, fixed factors and discipline.”141
12          In a 2015 press release, Brad Minsley, co-owner of lessor 10 Federal, stated that, with
13           RENTmaximizer, 10 Federal had seen “3.5% rental income growth, and 30% or greater
14           improvement in their lease terms,” and that “[t]hanks to RENTMaximizer we are signing
15           new leases, our renewal rates are sustainable, and we don’t have to offer concessions.”142
16          In a 2015 press release, Scott Brown, president of lessor Grubb Properties, stated that
17           RENTmaximizer “gives our ownership groups much more confidence. Our clients can
18           view comprehensive reports with drilldown into their pricing movement, which ensures
19           complete trust in the system.”143 He reported that “[b]y providing detailed and transparent
20           [pricing] reporting, Yardi RENTmaximizer has also enabled us to save time and gain
21           efficiency by eliminating weekly pricing calls with our owners.”
22          Brantley White, president of lessor Ardmore Residential, announced in a 2016 press
23           release that Ardmore Residential had raised rents 5-6% since its implementation of Yardi
24     139
            Id.
       140
25          See Rockbridge Group, supra note 6.
        141
            HNN Associates, LLC Optimizes Rental Pricing Performance with Yardi RENTmaximizer, supra
26   note 17 (emphasis added).
        142
            Id. (emphasis added).
27      143
            Grubb Properties Maximizes Pricing, Achieves Longer Lease Terms with Yardi RENTmaximizer,
     Business Wire (Dec. 1, 2015), https://www.businesswire.com/news/home/20151201005433/en/Grubb-
28   Properties-Maximizes-Pricing-Achieves-Longer-Lease-Terms-with-Yardi-RENTmaximizer.

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 1           RENTmaximizer in 2016, and appreciated that “Yardi RENTmaximizer has allowed us to
 2           push rents more aggressively and takes more human error out of the process.”144 He
 3           candidly acknowledged that “[w]e simply wouldn’t have raised rents that much or that
 4           quickly on our own.”145
 5          As noted above, Ryan Kissell, controller of Landlord Defendant Summit Management
 6           Services, stated in a 2012 press release that that “RENTmaximizer’s automated pricing
 7           matrix has allowed us to eliminate concessions.”146 The same press release states that
 8           Summit Management Services saw a revenue increase of 4.63% in the third quarter of
 9           2011 after the company adopted RENTmaximizer.147
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26     144
            Ardmore Residential Raises Rents 5-6% with Yardi RENTmaximizer, supra note 20.
       145
            Id.
27      146
            Yardi RENTmaximizer Gives Summit Management Services Inc. New Rental Pricing Insight, supra
     note 86.
28      147
            Id.

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 1          124.    Yardi and Defendant Landlords worked together to publicly advertise the success
 2   of RENTmaximizer at inflating prices, and to invite other Defendants to join their scheme. For
 3   example, the following advertisement by Yardi, featuring a quote from Defendant Landlord
 4   Bridge Property Management, appeared in a 2016 edition of the Multifamily Executive magazine,
 5   a publication specifically intended for employees at multifamily operators:
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            125.    Lessors have also publicly praised (a) the insight into competitors’ pricing that
24
     Yardi provides and (b) the supracompetitive returns it generates. Indeed, much of this praise is
25
     found in numerous Yardi press releases touting its achievements in raising rents for their clients in
26
     the multifamily market. For example:
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 1          In a 2016 press release, Jeffrey Denson, the owner and COO of Landlord Defendant
 2           Dalton Management, stated that Dalton Management was able to increase rent per unit
 3           without losing business to its competitors as “RENTmaximizer has . . . made Dalton
 4           Management better aware of how its properties compare to the rest of the market,”
 5           explaining further that Dalton was “able to raise rents at a property we thought was
 6           keeping up—now we’re getting $100 more per unit and maintaining occupancy.”148
 7          A “success story” available on Yardi’s website states that lessor Avesta had seen “a
 8           significant gain [in revenue] after only six months” of implementing RENTmaximizer.”149
 9           Specifically, Avesta announced that for every dollar it invested in the RENTmaximizer
10           system, it achieved a return of nearly $30. The press release quotes Will Newton, Director
11           of Support Systems at Avesta, as stating: “[T]hanks to the revenue and leasing metrics,
12           along with the support of our dedicated Yardi RENTmaximizer pricing specialist, we
13           don’t leave money on the table.”
14          A 2016 press release states that lessor CKR Property Management saw substantial rental
15           revenue growth as a result of adopting RENTmaximizer. The press release quotes
16           Caroline Kane, CEO of CKR: “Overall, our rental revenue is up 8% year over year . . . one
17           property that previously struggled is up 28%. Yardi RENTmaximizer had a lot to do with
18           that success.”150
19          According to a 2015 press release, Landlord Defendant Bridge Property Management
20           reported that the company used RENTmaximizer to price “approximately 27,000
21           multifamily units,” and had reported 9.4% year-over-year rental income growth “for
22           properties priced with Yardi RENTmaximizer.”151
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24     148
            Dalton Management Reports Increased Revenue Using Yardi RENTmaximizer, supra note 24.
       149
25          Avesta, supra note 25.
        150
            CKR Property Management Grows Rental Revenue with Yard RENTmaximizer, Business Wire (Oct.
26   27, 2016).
        151
            Bridge Property Management Gains 9.4% Year-Over-Year Rental Growth with Yardi
27   RENTmaximizer, Business Wire (Sept. 29, 2015), https://www.businesswire.com/news/home/
     20150929005288/en/Bridge-Property-Management-Gains-9.4-Year-Over-Year-Rental-Growth-with-
28   Yardi-RENTmaximizer.

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 1             According to a 2016 press release, within five months of using RENTmaximizer, lessor
 2              Singh Management found that properties that implemented RENTmaximizer performed at
 3              “7% higher” than the properties in the portfolio not yet using the system, and “by the fifth
 4              month, they reached rental growth of 18.5%.”152
 5             Another “success story” available on Yardi’s website states that Landlord Defendant Pillar
 6              Properties’ use of RENTmaximizer “drive[s] higher revenue, manage[s] costs and
 7              balance[s] risk.”153
 8             During a February 18, 2016 earnings call discussing Landlord Defendant Morguard’s Q4
 9              2015 earnings, Senior Vice President John Talano, who is responsible for Morguard’s
10              U.S. operations and oversees Morguard’s residential holdings, was asked whether
11              Morguard was “still seeing pretty strong rental rate growth.” Talano responded: “yes, yes,
12              absolutely. We implemented RENTmaximizer, which is a revenue modeling software and
13              we’re monitoring that literally on a daily basis. Good strong rents growth in Florida,
14              Atlanta, Dallas, Texas and in Colorado.” Elsewhere during the call, Talano stated that
15              Morguard “experienced robust rent growth with smaller markets like Alabama and
16              Louisiana experiencing 3% rent growth at the low end of the scale, compared to rent
17              growth ranging 5% to 8% and [Morguard’s] more stronger markets in Florida and
18              Colorado.”154
19              126.    Confidential witness interviews provide further evidence that Landlord Defendants
20   outsource their independent price decisions to RENTmaximizer and achieve supracompetitive
21   returns as a result. For example:
22             CW 1, who worked as a former leasing consultant for Bridge Property Management,
23              stated that she regularly used Yardi to set prices for the apartments she managed.
24              Specifically, she would input square footage of the apartment, the location, and Yardi’s
25
        152
               Singh Management Gains Revenue and Occupancy Growth with Yardi RENTmaximizer, supra note
26   83.
        153
            Yardi, Success Stories – Pillar Properties on Elevate, https://www.yardi.com/about-us/success-
27   stories/pillar-properties-on-elevate/ (last visited Sept. 7, 2023).
        154
            See Morguard North American Residential Real Estate Investment Trust, Q4 2015 Earnings Call
28   (Feb. 18, 2016).

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 1           system would offer listing prices that she “just went for” without “question[ing],”
 2           explaining that she “[j]ust went with whatever it told me.” She explained further that
 3           Yardi would show comparative pricing specific competitor apartment locations and that,
 4           in her opinion, this “was not fair for renters.” She stated: “It was ridiculous. We were
 5           supposed to be helping these people who couldn’t afford a home. Instead, we were raising
 6           rents.”
 7          CW 2, another former employee at Bridge Property Management, recalled that he
 8           regularly received printouts from Yardi on apartment pricing, which he used in listings he
 9           created for the apartment complex he managed. CW 2 stated that the prices generated by
10           Yardi were never questioned and could change daily. He also stated that this pricing
11           practice gave “an unfair advantage” to lessors because they “all know what they should be
12           renting for” by using the same pricing platform.
13          Confidential Witness 3 (“CW 3”)155, a former leasing agent at Bridge Property
14           Management, explained that she frequently consulted Yardi’s pricing recommendations to
15           quote customers who applied for a rental. She stated that, in her time at Bridge, she never
16           questioned the prices from Yardi—which came as daily printouts with prices that changed
17           “daily”—and that “everybody was using it.”
18          Confidential Witness 8 (“CW 8”), who worked as a leasing specialist for Morguard, stated
19           that Morguard utilized RENTmaximizer for apartment inventory and rent pricing. As a
20           leasing specialist, CW 8 would run a daily printout from Yardi of available apartment
21           inventory and rent pricing. The pricing was automatically set by Yardi and fluctuated from
22           day to day. Deviation from Yardi pricing required corporate override approval; CW 8 did
23           not recall ever having to obtain approval for a rent price override during her tenure at
24           Morguard.
25           127.      Finally, on information and belief, RENTmaximizer users are aware that their
26   competitors also use Yardi’s price-setting software. CW 7, who worked at Yardi between 2019
27
       155
            CW 3 worked for Bridge Property Management as a leasing agent in Marietta, Georgia, from 2018
28   until 2023.

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 1   and 2021 as a senior account executive, explained that while Yardi’s clients were “very concerned
 2   about sharing their rental rates more than anything,” “[m]ost people appreciated the fact that if
 3   they shared data, they would get data from other clients using things like RENTmaximizer, so that
 4   everybody was benefitting from the data.”
 5          128.    CW 5, who worked as an operations analyst at Yardi from 2013 to 2021, stated
 6   that she believed that many of Yardi’s clients knew that their competitors or other companies
 7   were also using Yardi, and that some companies gave Yardi permission to disclose their
 8   relationship with it for marketing materials. (Consistent with this, as discussed throughout this
 9   Complaint, Yardi has issued a significant number of press releases touting lessors’ use of
10   RENTmaximizer, including their use of it to raise rents and eliminate concessions.) As discussed
11   below, Landlord Defendants and Yardi also have numerous opportunities to collude at the Yardi
12   Advanced Solutions Conferences (YASC) and social events. YASC is a large-scale, well-attended
13   social event that is open to Yardi clients only.
14          129.    Further, as detailed throughout this complaint, Yardi has long posted a continual
15   stream of endorsements, press releases, and blog posts online touting RENTmaximizer’s growth
16   and numerous specific clients’ success with it. Indeed, as discussed below (see infra Section D),
17   Yardi employees (in a now deleted blog post from 2015) even wrote publicly about
18   RENTmaximizer’s unique success in raising rents in certain “markets in which a significant
19   number of properties use Yardi RENTmaximizer.”
20          130.    In summary, the widespread adoption of RENTmaximizer has distorted the
21   multifamily rental market by artificially inflating prices and sharply lessening competition.
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 1   C.         Yardi collects extensive data from landlords, including confidential pricing and
                occupancy data, that it inputs into its “Yardi Matrix Multifamily” product—which is
 2              then used to feed RENTmaximizer.
 3              131.   As noted above, Yardi advertises that it uses data from a separate product, “Yardi

 4   Matrix,” as an input to RENTmaximizer:

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                132.   In 2013, Yardi acquired the company Pierce-Eislen, which it described as “the
10
     industry’s most comprehensive apartment market intelligence analysis system,” and rebranded it
11
     “Yardi Matrix.”156 Today, Yardi Matrix is a commercial real estate intelligence source that “offers
12
     the industry’s most comprehensive market intelligence” and provides users with various types of
13
     data about properties in certain markets, including rent and occupancy data.157
14
                133.   Among other things, Yardi offers versions of its “Matrix” product for various
15
     segments of the commercial real estate industry, including Yardi Matrix Multifamily (for
16
     multifamily rental properties), Yardi Matrix Student (student rental properties), and Yardi Matrix
17
     Office (office properties). Yardi explains that Matrix:
18
                       provides critical data to the professional property manager. Our
19                     comprehensive property-level data makes it easy to benchmark
                       property performance, canvas competitors and neighborhoods and
20                     find new contracts. Gain a valuable understanding of the nature and
                       performance of any portfolio of properties, using our powerful set
21
                       of research and comparative market analysis tools.158
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24        156
            Yardi, Yardi RENTmaximizer Property Ratings: Improvement and Location Rating System, The
25   Balance Sheet: Yardi Corporate Blog (Mar. 1, 2015), available at
     https://web.archive.org/web/20170801195125/https://www.yardi.com/blog/uncategorized/yardi-
26   rentmaximizer-property-ratings/12650.html.
        157
            Yardi, Yardi Matrix, https://www.yardimatrix.com/.
27      158
            Yardi, Yardi Matrix: Real Estate Data & Comparative Analysis Tools,
     https://www.yardimatrix.com/Property-Types/Solutions/Management-Portfolio-Health (last visited Nov. 1,
28   2023).

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 1           134.   Yardi states that its property universe is the “largest and deepest refined database
 2   in the industry.”159 According to a promotional video available on Yardi’s website, its “Matrix
 3   Multifamily” product “leverage[s] the most comprehensive apartment (>50 units) market data
 4   source covering 19+ million units, encompassing 90% of the U.S. Population”:
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16           135.   A map available on Yardi’s website underscores the extent of this nationwide
17   coverage160:
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27     159
           Yardi, How We Compare, https://www.yardimatrix.com/About-Us/How-We-Compare (last visited
     Nov. 1, 2023).
28     160
           Yardi, Yardi Matrix: Markets, https://www.yardimatrix.com/Markets.

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              136.   Specifically, subscribers to Matrix Multifamily receive “real-time property data”
15
     on rental rates and occupancy history, as well as short and long-range forecasts of rent and
16
     occupancy at the market and sub-market levels. Elsewhere online, Yardi touts that Matrix
17
     subscribers “access near up-to-the-minute market information at two levels: the individual
18
     property or overview of market conditions critical to the assessment of current, and prospective,
19
     market status” and describes Yardi’s “apartment information service” as “a high-performance
20
     system with the sole function of supporting the commercial apartment industry’s dominant
21
     participants”161:
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        161
          Yardi, Yardi Matrix Rent Survey, https://yardirentsurvey.wordpress.com/ (last visited Nov. 1, 2023)
28   (emphasis added).

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              137.    Other granular, unit specific data Yardi Matrix collects includes: (1) rental history
15
     by unit type; (2) property characteristics—unit mix, unit sizes, photographs, prior sales;
16
     (3) apartment properties currently under construction, or in the planning process; (4) property sale
17
     history.162 A view of the Yardi Matrix interface can be see below for a sample property163:
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       162
             Yardi Matrix Overview, https://www.yardimatrix.com/About-Us/Press-Kit/Yardi-Matrix-Overview.
28     163
             Yardi Elevate, supra note 10.

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 1           138.   Yardi prominently advertises the extensive amount of data available through Yardi
 2   Matrix164:
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       164
            Yardi Matrix Multifamily Brochure, available at
28   https://www.yardimatrix.com/pdf/MultifamilyMarketCoverage/Matrix_Multifamily_brochure.pdf.

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 1           139.   Yardi also emphasizes that it “does the heavy lifting—with extensive quality
 2   control—to compile property-level research that closes deals and drives value,” and advertises
 3   that users can get property unit breakdowns, sales and loan history, occupancy history, rental rate
 4   history for tens of thousands of properties165:
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13           140.   Yardi also takes pain to emphasize the granularity, standardization, accuracy, and

14   “near real-time” quality of the data it makes available through Matrix is superior to that of

15   “competitive services,” which it describes as generally providing stale, non-standardized, and

16   incomplete information166:

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             141.   Yardi obtains this extensive, granular data from at least two sources: (1) its clients,
24
     including users of its popular “Voyager” property management software; and (2) rent surveys
25

26
       165
           Yardi, Multifamily Market Data and Analysis, https://www.yardimatrix.com/Property-
27   Types/Multifamily (last visited Nov. 1, 2023).
       166
           Yardi, How We Compare, https://www.yardimatrix.com/About-Us/How-We-Compare (last visited
28   Nov. 1, 2023).

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 1   conducted multiple times a year, during which Yardi analysts call millions of properties
 2   “play[ing] the role of renter” to inquire about rental rates.
 3          142.    Client data. According to CW 6, a senior account executive at Yardi from 2015 to
 4   2019, all Yardi clients—or Voyager clients—contractually agree to share pricing and occupancy
 5   data with Yardi and to allow Yardi to use “aggregated data” as part of Matrix and
 6   RENTMaximizer. “When you sign your contract with [Yardi], you agree to give your data,
 7   aggregated,” CW 6 explained. According to CW 6, Yardi then presents it to clients as data
 8   “within three miles” or “five miles” or “this is the average rental.”
 9          143.    CW 6 explained that clients provide Yardi with “[e]verything about your pricing,
10   your occupancy, all that good stuff.” This data then gets housed in Matrix. CW 6 explained that
11   client data is sent to Yardi “nightly.”
12          144.    CW 6 further explained that RENTmaximizer and Yardi Matrix were sold
13   together, and that “you have to have Matrix” to get data that feeds into RENTmaximizer and
14   generates pricing recommendations. CW 6 also stated that Yardi is “the largest multi-family
15   player out there” and has “all the data from all of their properties inside Matrix. And then
16   somebody buys that data in the form of RENTmaximizer.”
17          145.    In other words, Defendants provide information to Yardi Matrix with the
18   understanding that, in part, they will receive pricing recommendations from RENTmaximizer that
19   are based on Yardi Matrix data; they contractually agree to share pricing and occupancy data with
20   Yardi and understand that aggregated data from Yardi Matrix is used as part of RENTmaximizer.
21          146.    Telephone surveys. Yardi Matrix also conducts regular “rent surveys”
22   (approximately twice a year) to collect current pricing information about rental properties. As part
23   of these rent survey, Yardi employees, masquerading as potential renters, call apartment
24   community buildings to collect information about rents and current rent specials. Yardi itself has
25   acknowledged that information it collects from rent surveys are used in RENTmaximizer, stating
26   that asking rent adjustments in RENTmaximizer are based, in part, on “public information
27   collected through surveys.”
28

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 1   According to Yardi, Yardi Matrix “researches and compiles static and dynamic apartment market
 2   data specific to individual apartment properties, and to general apartment market conditions.”167
 3   Specifically, multifamily rental market conditions are surveyed at two levels: rental rates and
 4   concessions; and market occupancy.168 Yardi explains that rental rates “are gathered as a
 5   prospective renter by telephone survey, then reported in both Actual, and Market Rate,
 6   formats.”169 Yardi requires that all surveys be conducted as a potential renter to ensure the
 7   accuracy of information collected170:
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11            147.   Yardi also conducts surveys on rental promotional activity in the form of

12   concessions annually, three times a year, by telephone survey among competitively rented

13   (market/rate) properties of 50 units and larger in size.171

14            148.   Yardi has publicly stated in the past the data collected by its “analysts” is used in

15   RENTmaximizer. A 2015 post on Yardi’s corporate blog explains:
                     “Blind shopping” is one way Yardi Matrix collects data to determine
16                   property values. Inquiring as prospects, analysts currently call on
17                   9.4+ million units in 77 markets three times per year. This includes
                     all properties over 50 units in specific markets, and we are
18                   expanding this to include 100 markets, covering 97% of the United
                     States population. We include this collection of actual rent
19                   information at the unit-type level as part of the standard Yardi
                     RENTmaximizer reporting system.172
20
        167
            https://www.yardimatrix.com/About-Us/Our-Methods.
21      168
            https://www.yardimatrix.com/About-Us/Our-Methods/How-We-Report-Rental-Market-Conditions.
        169
22          “Actual rents” are the prices a property charges residents to occupy an apartment. Yardi Matrix then
     adjusts “actual rents” to “market rents” for an apples-to-apples comparison in reflecting the “the condition
23   that apartment rental rates among floorplans of the same type.” Id.; see also Yardi, How We Compare,
     https://www.yardimatrix.com/About-Us/How-We-Compare (last visited Nov. 1, 2023) (“Rental rate
24   information is surveyed by telephone, with surveyors soliciting information as renters. Current ‘street’
     rents are reported, then illustrated as both ‘Actual’, and ‘Market’, rents. Market rents are converted – an
25   apples-to-apples format, accounting for anomalies influencing rent paid beyond a ‘base’ rental rate”).
        170
            Yardi, Yardi Matrix Rent Survey, https://yardirentsurvey.wordpress.com/ (last visited Nov. 1, 2023).
26      171
            https://www.yardimatrix.com/About-Us/Our-Methods/How-We-Report-Rental-Market-
     Conditions/How-We-Survey-Rental-Concessions.
27      172
            Yardi, Yardi Rentmaximizer Property Ratings: Improvement and Location Rating System, The
     Balance Sheet: Yardi Corporate Blog (Mar. 1, 2015), available at
28

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 1          149.    A separate, now-deleted post from August 2014 on Yardi’s blog likewise states:
 2                  Yardi RENTmaximizer™ users see an average 2 to 5 percent
 3                  revenue lift over existing market rates. Recently, the ability to
                    analyze portfolio or property performance comparative to the
 4                  regional market performance has become even more powerful
                    within the product platform.
 5
                    “We’re now incorporating all the benchmark data from real estate
 6                  intelligence provider Pierce-Eislen into the RENTmaximizer
 7                  product,” shares Dharmendra Sawh, industry principal for revenue
                    management at Yardi. “This allows our customers to see exactly
 8                  what revenue gains they are achieving, not only at their own
                    property, but in comparison to their regional market.”
 9
                    Acquired by Yardi in 2013, Pierce-Eislen provides nationwide
10                  intelligence on markets, submarkets, competition, developments,
11                  rents, and more.173
            150.    Landlord Defendants provide information to Yardi Matrix with the understanding
12
     that, in part, they will receive pricing recommendations from RENTmaximizer that are based on
13
     this extensive Yardi Matrix data.
14

15   D.     Economic analysis confirms that usage of Yardi produces anticompetitive effects in
            the form of higher prices for RENTmaximizer users.
16          151.    Economic analysis confirms that collective usage of Yardi RENTmaximizer leads
17   to higher prices. Public rent data was collected over a period of several weeks in August 2023
18   from Seattle, Charlotte, and Phoenix. A regression analysis was then performed in zip codes
19   where usage of Yardi RENTmaximizer was higher than 15% of available units. The regression
20   analysis controlled for various property and geographic features, such as (1) size of the unit,
21   (2) number of bathrooms, (3) census average rent in the zip code, and (4) median income in the
22   zip code. Across over 23,000 units, the regression found an average overcharge of 6% on units
23   priced using RENTmaximizer (blue) as compared to units not priced using RENTmaximizer
24   (orange), including for studio, 1-bedroom, 2-bedroom, and 3-bedroom apartments. This is closely
25
     https://web.archive.org/web/20170801195125/https://www.yardi.com/blog/uncategorized/yardi-
26   rentmaximizer-property-ratings/12650.html.
        173
            Leah Etling, Revolutionary Revenue: Market Data Insight (Aug. 27, 2014), The Balance Sheet:
27   Yardi Corporate Blog, available at
     https://web.archive.org/web/20140908043659/https:/www.yardi.com/blog/news/revolutionary-
28   revenue/11339.html (emphasis added).

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 1   consistent with Yardi’s repeated public statements that usage of RENTmaximizer led to a 6%
 2   average increase in net rental income:
 3          152.    These findings are further corroborated by additional, detailed analyses that Yardi
 4   itself performed. In a now-deleted March 1, 2015 post on Yardi’s corporate blog, Yardi staff used
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     rent data shopped from “more than 9.2 million units”—obtained through phone surveys
20
     performed by the then-recently acquired Pierce-Eislen (rebranded “Matrix”)—“to compare
21
     RENTmaximizer properties’ performance against their market, the submarket, and submarket-
22
     equivalent properties,” and “analyzed properties on RENTmaximizer from the end of 2012
23
     through April 2014 and compared the aggregate performance of this ‘same store sales’ population
24
     against the market.” Yardi’s analysis found that “[a]t the end of April 2014, RENTmaximizer
25
     properties saw rental rates over 2% above the market” even including “properties using other
26
     revenue management software,” with “[t]he markets [growing] at a combined rate of 3.9%, while
27
     RENTmaximizer properties outperformed the market and grew at nearly 6%”:
28

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 2          153.      Yardi also performed a separate analysis “for some markets in which a significant
 3   number of properties use Yardi RENTmaximizer” and found substantial above-market gains in
 4   many of these:
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            154.      Reflecting on these results, Yardi’s staff remarked on the substantial above market
16
     gains in many of the markets above, and explicitly noted that in Orange County, where Yardi
17
     exceeded the competition only slightly, this was likely because “many more properties in this
18
     market use other revenue management systems”:
19
                      Figure 2 above shows results for some markets in which a
20                    significant number of properties use Yardi RENTmaximizer.
                      Denver, one of the top five “hottest” markets in 2013, saw a market
21
                      rental growth of 9.8%, while the RENTmaximizer properties grew
22                    by almost 13.5%. RENTmaximizer customers exceeded the market
                      by almost 3.7%. Similarly, the Houston market grew by 8% overall,
23                    while RENTmaximizer properties produced 14%—a 6% advantage
                      for RENTmaximizer customers.
24
                      Another extreme example, the market in Orange County, California
25
                      saw 4.05% growth while RENTmaximizer properties grew by
26                    4.37%. Orange County rental rates are very high compared to other
                      markets, and many more properties in this market use other revenue
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 1                     management systems. Even this small increase above market using
                       RENTmaximizer creates a significant income difference.174
 2
                155.   In a conclusion to the post, Yardi staff wrote that “we now have significant
 3
     statistical proof that RENTmaximizer produces consistently better results than the market, and
 4
     our customers tell us that we provide the best support in the industry . . . . Yardi RENTmaximizer
 5
     delivers better results, better service, and complete visibility into the ‘health’ of your property
 6
     performance and how it drives your pricing results”:
 7
                       Conclusion
 8
                       Yardi RENTmaximizer has seen exponential adoption growth since
 9                     it was introduced in 2011 and continues to prove itself in the market.
10                     The system’s intuitive approach and transparent reporting make it
                       easy for property teams to understand and accept its daily pricing
11                     methodology.

12                     The August 2014 release of RENTmaximizer enables customers to
                       compare the performance of each of their properties to its market,
13                     submarket, and submarket-equivalent properties. This reporting
14                     feature has become very popular with our customers, and we plan to
                       expand capabilities in this area in future releases of
15                     RENTmaximizer.

16                     We now have significant statistical proof that RENTmaximizer
                       produces consistently better results than the market, and our
17
                       customers tell us that we provide the best support in the industry.
18                     Our service team of experienced revenue managers is included with
                       the RENTmaximizer product. Yardi RENTmaximizer delivers
19                     better results, better service, and complete visibility into the “health”
                       of your property performance and how it drives your pricing results.
20
     E.         Defendants’ conduct has no pro-competitive benefits
21
                156.   Defendants rent pricing scheme has not benefited competition. It has also not had
22
     pro-competitive effects in the multifamily housing rental market.
23

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          174
            Yardi, Yardi RENTmaximizer Market Analysis: 2013 Performance Results, The Balance Sheet:
27   Yardi Corporate Blog (Mar. 1, 2015), available at
     https://web.archive.org/web/20210302115856/https://www.yardi.com/blog/uncategorized/yardi-
28   rentmaximizer-market-analysis/12670.html.

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 1           157.    Instead, Defendants conduct has had the effect of benefitting them by increasing
 2   revenues and profits; meanwhile, consumers have subsidized this misconduct by paying
 3   artificially inflated prices for their rent.
 4           158.    While Defendants’ misconduct may have increased their operational efficiencies
 5   (e.g., by saving costs, time, or other resources associated with traditional methods of fair rent
 6   pricing), it has meanwhile made it more time-consuming and difficult for consumers to identify
 7   and secure meaningfully less expensive rental rates for comparable properties offered by
 8   Defendants’ co-conspirators.
 9           159.    Assuming any procompetitive benefits from Defendants’ misconduct exist, they
10   would be minimal in nature and could not outweigh the substantial and anticompetitive effects of
11   this misconduct.
12   F.      Studies show that industry-wide usage of a shared pricing algorithm leads to
             anticompetitive effects.
13
             160.    Extensive economic research documents that the use of pricing algorithms leads to
14
     anticompetitive effects, including elevated prices. Modern algorithms can use artificial
15
     intelligence to reach the objective of maximizing profits without the need for human intervention.
16
     Indeed, legal scholars, economists, and antitrust regulators studying this issue have all concluded
17
     that competitors’ use of a shared pricing algorithm to set prices produces the same types of
18
     anticompetitive effects alleged here.
19
             161.    In a May 2017 paper, “Algorithmic Collusion: Problems and Counter-Measures,”
20
     competition law professors Ariel Ezrachi and Maurice Stucke discuss “how in an online
21
     environment a hub-and-spoke [price-fixing conspiracy] framework may emerge when sellers use
22
     the same algorithm or the same data pool to determine price.” In particular they state that:
23
                     An industry-wide use of a single algorithm, which competitors use
24
                     to determine the market price or react to market changes, would
25                   result in de-facto hub-and-spoke structure, as the market behavior of
                     the competitors aligns due to the use of a similar “brain” to
26                   determine their price strategy. These effects intensify when sellers
                     use the same data pool and are privy to vast volumes of data. Hub-
27

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 1                  and spoke structures may therefore be observed at the input level
                    (data) and the output level (algorithm).175
 2

 3           162.   Ezrachi and Stuck note this situation playing out in connection with gas stations

 4   using the same third-party analytics provider to determine fuel prices. The professors conclude

 5   that “[t]his anecdotal example supports the assertion that as competitors use a single hub – a

 6   single provider for algorithmic pricing – one may expect, in markets susceptible to tacit collusion,

 7   greater alignment of pricing decisions and higher prices overall.”

 8           163.   Consistent with this, a growing body of academic research documents that

 9   algorithms make it easier for competitors to coordinate on pricing and charge supracompetitive

10   prices. For example, an experimental study published in the American Economic Review found

11   that competing firms, using AI powered algorithmic pricing, would settle, over time, into an

12   equilibrium model where each firm charged supracompetitive prices.176 The result was robust to

13   asymmetries in cost or demand, or changes in the numbers of players.

14           164.   Similarly, a 2021 empirical study found (in line with the predictions of theoretical

15   models, and with Ezrachi and Stucke’s predictions) that when gas stations in Germany used

16   algorithms to set prices, their margins increased by approximately 9%. Critically, the authors

17   found that algorithm use only raised prices above competitive levels in places where competitors

18   adopted algorithms jointly, and thus that “algorithmic pricing software adoption raises margins

19   only through its effects on competition”; by contrast, in areas where (1) a station had no

20   competitors or (2) there were two stations but only one adopted algorithmic pricing, the authors

21   found “no change in mean margins or pricing.”177 In other words, algorithm use among these

22   stations raised prices not by driving efficiency or achieving some procompetitive result, but

23   instead by undermining normal market competition. The authors also note:

24     175
            Ariel Ezrachi and Maurice Stucke, Algorithmic Collusion: Problems and Counter-Measures, at 10,
25   Roundtable on Algorithms and Collusion (June 2017), available at
     https://one.oecd.org/document/DAF/COMP/WD%282017%2925/en/pdf.
26      176
            Emilio Calvano et al., Artificial Intelligence, Algorithmic Pricing and Collusion, 110 AM. ECON.
     REV. 3267-97 (Oct. 2020), https://www.aeaweb.org/articles?id=10.1257/aer.20190623.
27      177
            See Stephanie Assad et al., Autonomous algorithmic collusion: Economic research and policy
     implications at 15, Toulouse School of Economics Working Paper (Mar. 2021), available at
28   https://www.tse-fr.eu/sites/default/files/TSE/documents/doc/wp/2021/wp_tse_1210.pdf (emphasis added).

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 1                   Algorithmic pricing can also affect competition if a single
                     intermediary software provider sells their product to multiple
 2                   competitors. Such adoption could lead to hub-and-spoke(where the
 3                   provider acts as the hub of the sellers, Ezrachi and Stucke 2015) or
                     parallel-use scenarios, with competitors coordinating to higher
 4                   prices by delegating choices or relaying information to the same
                     third party. These concerns are warranted by the statements and
 5                   observed behaviour of software providers. Some providers promote
                     their products by suggesting that they optimize for long-term
 6
                     revenues and avoid price wars.178
 7
              165.   Uber also sets prices algorithmically, which users recognize in now-regular
 8
     occurrences of “surge pricing” where prices spike (often to eyewatering levels) at times of high
 9
     demand. This algorithmic pricing leads to higher prices for customers and higher revenue for
10
     Uber, even though Uber’s costs do not change significantly during the surge pricing periods. As
11
     one academic has noted, even though drivers are theoretically independent contractors who could
12
     compete against each other, each driver has “agreed to have their prices coordinated and set by
13
     the algorithm.” This could constitute, as the author puts it, a “twenty-first-century[] techno-
14
     cartel.”179 Areeda and Hovenkamp also state that a “practice of interseller price verification . . .
15
     would appear to be a naked or at least a nearly naked restraint” in violation of antitrust law.180
16
              166.   Government regulators around the world have also expressed concerns about
17
     algorithmic pricing’s effect on competition.
18
              167.   Earlier this year, for example, the Principal Deputy Assistant Attorney General of
19
     the Antitrust Division for the Department of Justice stated: “Where competitors adopt the same
20
     pricing algorithms, our concern is only heightened. Several studies have shown that these
21
     algorithms can lead to tacit or express collusion in the marketplace, potentially resulting in higher
22
     prices, or at a minimum, a softening of competition.”181
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        178
           Id. at 4.
26      179
           Salil K. Mehra, Antitrust and the Robo-Seller: Competition in the Time of Algorithms, 100 MINN. L.
     REV. 1323-75 (2015).
27     180
           Herbert Hovenkamp & Phillip E. Areeda, ANTITRUST LAW: AN ANALYSIS OF ANTITRUST
     PRINCIPLES AND THEIR APPLICATION ¶ 2113 (4th and 5th Ed. 2018-2022).
28     181
           U.S. Dep’t of Justice, supra note 31.

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 1               168.    Similarly, as noted above, while serving as acting chairman of the Federal Trade
 2   Commission, Maureen Ohlhausen explained in 2017 how multiple firms outsourcing pricing
 3   decisions to a single third-party actor—just as lessors have done with Yardi—raises significant
 4   antitrust concerns, and asked rhetorically: “Is it ok for a guy named Bob to collect confidential
 5   price strategy information from all the participants in a market, and then tell everybody how they
 6   should price? If it isn’t ok for a guy named Bob to do it, then it probably isn’t ok for an algorithm
 7   to do it either.” Ohlhausen emphasized: “this is fairly familiar territory for antitrust lawyers, and
 8   we even have an old fashioned term for it, the hub-and-spoke conspiracy. Just as the antitrust laws
 9   do not allow competitors to exchange competitively sensitive information directly in an effort to
10   stabilize or control industry pricing, they also prohibit using an intermediary to facilitate the
11   exchange of confidential business information.”182
12               169.    Yardi here plays exactly the role of a guy named Bob. It collects price information
13   from each of the Landlord Defendants, and then tells them, through use of its algorithm, how to
14   price multifamily housing.
15   G.          Parallel conduct and “plus factors” indicate an existence of a price-fixing conspiracy.
16               170.    As set forth in detail above, Defendants engaged in multiple forms of parallel
17   conduct including (1) entering into agreements to use RENTmaximizer and using
18   RENTmaximizer during the same periods of time; (2) each using pricing adjustments provided by
19   RENTmaximizer with the understanding that usage would produce artificially inflated prices; and
20   (3) each implementing significant rental prices increases after beginning their usage of
21   RENTmaximizer, as shown in the numerous press releases issued by Yardi trumpeting
22   Defendants’ higher rental prices after implementation of RENTmaximizer.
23               171.    In addition, the multifamily market has numerous “plus factors” that render the
24   industry susceptible to collusion and tend to exclude the possibility of independent action. These
25   “plus factors” include (1) exchanges of competitively sensitive information, (2) actions against
26   economic self-interest, (3) high barriers to entry, (4) fungible products subject to inelastic
27

28        182
                Ohlhausen, supra note 32.

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 1   consumer demand; (5) high switching costs; (6) ample opportunities to collude; and (7) a related
 2   government investigation into similar conduct by RealPage, which makes competing software
 3   (“YieldStar”).
 4          1.        Exchanges of competitively sensitive information
 5          172.      Landlord Defendants all agreed to submit their confidential business information
 6   to Yardi RENTmaximizer with the knowledge that the system would use that data to calculate
 7   rents for their competitors. Such an agreement of mutual sharing and receiving competitors’
 8   information makes sense for Landlord Defendants only if they are assured that their competitors
 9   will not use the information provided to gain competitive advantage, i.e., lure renters away
10   through reduced rents. As CW 7, who worked at Yardi between 2019 and 2021 as a senior
11   account executive, explained: while Yardi’s clients were “very concerned about sharing their
12   rental rates more than anything,” “[m]ost people appreciated the fact that if they shared data, they
13   would get data from other clients using things like RENTmaximizer, so that everybody was
14   benefitting from the data.”
15          173.      Moreover, confidential witness interviews revealed that Landlord Defendants
16   regularly engaged in “market surveys” to exchange each other’s competitively sensitive pricing
17   information. For example, CW 1, a former leasing consultant for Bridge Property Management,
18   stated that she regularly conducted market surveys by “shopping” other apartment complexes,
19   where she would gather information on pricing. Similarity, CW 2, another former employee at
20   Bridge Property Management, recalled that he would call competitors complexes and asked their
21   leasing agents for rent prices.
22          174.      Confidential Witness 9 (“CW 9”), a former employee at HNN Communities in
23   Seattle, stated that she regularly did market surveys of pricing of competitors’ buildings. CW
24   stated that she would call competitors and ask them for pricing information, stating “it was
25   common for neighboring properties to share information.”
26          175.      Yardi itself understands that its clients engage in this kind of market research
27   through direct communications with competitors that is then incorporated into the rent
28   adjustments that RENTmaximizer provides. Yardi itself states that RENTmaximizer may

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 1   incorporate into its rent adjustments “asking rents for comparable properties that the client
 2   selects,” which may include data that “come[s] from the client’s own research.”
 3          2.      Actions against economic self-interest.
 4          176.    Defendants’ pricing strategy—dramatically increasing rents notwithstanding
 5   market conditions—is irrational and against self-interest in a competitive market. In the absence
 6   of changes in demand, no rational property managers would act alone to raise rents as they did
 7   here during the class period, because any empty units priced exceeding the competitive market
 8   price would soon be filled by competitors who offer renters at lower prices.
 9          3.      High barriers to entry
10          177.    Where there are significant barriers to entry, new entrants are less likely to enter
11   the market. Thus, barriers to entry help to facilitate the formation and maintenance of a collusion.
12   This holds true here. Property owners and operators face significant entry barriers due to the
13   substantial upfront costs they need to invest in procuring properties, setting up property
14   management systems, complying with regulations and incurring continued outlays for property
15   upkeep. Even relatively modest rental properties require substantial investments. As a result, the
16   multifamily leasing market is less attractive to new entrants, and businesses who just entered the
17   market are less likely to be able to discipline cartel pricing.
18          178.    In addition to building and acquisition costs, developing and maintaining a
19   multifamily rental housing property takes years. Thus, entrants into the market are unlikely to
20   discipline cartel pricing in the short or medium term.
21          4.      Fungible products subject to inelastic consumer demand.
22          179.    With an accounting of a few key overarching property characteristics, such as
23   bedroom and bathroom count, amenities, location, and building age, residential properties in the
24   multifamily housing market are generally interchangeable. This is especially true because the
25   information exchanged by Landlord Defendants through RENTmaximizer is unit-type specific
26   and relates to properties with comparable configurations; thus, the fact that multifamily properties
27   in general have various characteristics does not bear on the ability of Landlord Defendants to
28   coordinate rents through RENTmaximizer. Through the RENTmaximizer pricing algorithm and

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 1   “dedicated revenue managers” who regularly meet and communicate with property managers,
 2   RENTmaximizer lets competitors know and respond in real time to one another’s price.
 3           180.      Additionally, renters’ demand for renting multifamily homes is inherently
 4   inelastic. In most instances, despite price increases, renters still choose to live within certain
 5   geographic locations, such as somewhere close to their offices, schools, communities, and the
 6   only practicable alternative—purchasing a home—is neither financially nor logistically possible
 7   for many renters. Thus, because Landlord Defendants dominated the relevant market during the
 8   Class Period, renters generally have limited realistic alternatives to discipline Defendants’ pricing.
 9           5.        High switching costs
10           181.      The market for multifamily rental housing also has high switching costs. Faced
11   with a rent increase, many tenants are forced to remain in their current property due to the
12   prohibitively high costs in time and money associated with moving, even if a better-priced
13   alternative is available (e.g., locating an alternative place to live, costs associated with moving,
14   disruptions to personal and work life). Further, many renters are subject to penalties for early
15   termination of a lease (e.g., forfeit of a security deposit or the requirement that the tenant pay rent
16   until the property is re-rented) that make switching even more difficult and/or cost-prohibitive.
17           182.      As a result, it is difficult for renters to switch from one rental unit to another even
18   if their current unit is priced at a supracompetitive level. This enhances landlords’ power, and
19   makes collusion more effective, because customers will not typically break their leases to enter a
20   lease for a lower cost property given the substantial cost of doing so. Further, where price
21   increases occur throughout geographic areas (as they do when landlords enter a cartel) renters
22   often do not have any lower-priced options available in reasonable proximity to their work,
23   school, or home. Renters thus cannot simply turn to alternative lessors in their region to discipline
24   cartel pricing.
25           6.        Ample opportunities to collude
26           183.      Landlord Defendants and Yardi have numerous opportunities to collude at the
27   Yardi Advanced Solutions Conferences (YASC) and social events. YASC is a large-scale, well-
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 1   attended social event that is open to Yardi clients only.183 Confidential Witness 4 (“CW 4”),184 a
 2   former senior event specialist at Yardi, stated that YASC “is attended by about 2,000 people each
 3   time, who pay to participate.”185 Consistent with this, a post on Yardi’s LinkedIn page boasts that
 4   the 2022 YASC, held in San Diego, “welcome[d] 3,000 Yardi clients.”186
 5           184.   According to CW 4, the convention includes training sessions and panel
 6   discussions, but is mostly a “networking event.” YASC provides a designated “networking
 7   lounge” for attendees to meet with others who work in the same specialized areas in real estate.
 8   Consistent with this, the conference agenda for the 2015 YASC conference prominently
 9   advertises that it presents “networking opportunities” as well as a “personalized expert advice” in
10   a “networking lounge” where attendees can have “one-on-one discussions with Yardi’s product
11   experts”:
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       183
25          https://www.yardi.com/yasc/north-america/ (last visited Sept. 7, 2023).
       184
            From 2018 to 2022, CW 4 held various positions at Yardi, including as an account manager and
26   event specialist in marketing.
        185
            The ticket price for attending YASC North America is $1,195 USD.
27   https://www.yardi.com/yasc/north-america/ (last visited Sept. 7, 2023).
        186
            See https://www.linkedin.com/posts/yardi_welcome-to-yasc-2022-activity-6970800896951676928-
28   sqog/?trk=public_profile_like_view#.

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 1          185.   Previous YASC conference agendas indicate that Yardi provides RENTmaximizer
 2   trainings at these yearly conferences. For example, the 2015 YASC conference agenda included
 3   two separate RENTmaximizer-specific trainings:
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            186.   Similarly, the 2019 YASC conference agenda includes a training on “getting the
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     most out of RENTmaximizer” as well as a “RENTmaximizer overview” session:
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            187.   It is likely that personnel from named Landlord Defendants and/or their co-
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     conspirators have attended certain of these conferences. Indeed, a November 2017 post on co-
26
     conspirator ALCO Management’s website recounts a panel at the 2017 YASC during which Dana
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 1   Patterson, Senior Vice President of Operations at ALCO, recounted that ALCO uses
 2   RENTmaximizer:
 3                  On the panel were Dana Patterson, director of asset management at
                    ALCO Management, Maria Braun, ERP business analyst at Bigos
 4                  Management and Lisa Friedman, database coordinator at HCA
                    Management Services. Aaron Wells, the Yardi client services team
 5                  leader for BI, moderated. . . .
 6
                    Patterson explained that ALCO also uses Yardi RENTmaximizer for
 7                  revenue management, Yardi Payment Processing for electronic
                    transactions and RENTCafé for marketing, leasing and online
 8                  resident services. The addition of Orion to its Voyager platform
                    combines all of that operational and ancillary services data to deliver
 9
                    powerful analytics across its portfolio.187
10
             188.   Senior Yardi employees have also specifically advertised RENTmaximizer at
11
     industry conferences and touted, among other things, its ability to de-prioritize landlords’
12
     traditional focus on maximizing occupancy. As noted above, a now-deleted 2014 post on Yardi’s
13
     corporate blog recounts that Dharmendra Sawh, then Yardi’s “principal for revenue
14
     management,” had addressed the Canadian Federation of Apartment Associations’ Rental
15
     Housing Conference and was scheduled to speak on a panel at the Canadian Apartment
16
     Investment Conference not long afterwards as part of RENTmaximizer’s then-recent entry into
17
     the Canadian market:
18
                    RENTmaximizer is also entering new global markets, and is now
19                  available for apartment owners and managers in Canada. Though
                    regulations applied to Canadian rental real estate have often stymied
20                  use of revenue management products there in the past, things are
                    beginning to change.
21

22                  In July, Sawh addressed the Canadian Federation of Apartment
                    Associations’ Rental Housing Conference 2014 in Vancouver,
23                  British Columbia with an introduction to revenue management and
                    opportunities for its use in Canadian markets. In September 10, he’ll
24                  speak on a panel at the Canadian Apartment Investment Conference
                    in Toronto, Ontario.
25

26                  “In addition to government regulation, Canadian apartments are
                    typically run with very high occupancy rates. It may require a
27
       187
            The Benefits of BI, Alco Management (November 8, 2017),
28   https://www.alcomgt.com/blog/2017/11/08/the-benefits-of-bi/.

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 1                  change in mentality, but there are some real opportunities to realize
                    rent gains with the use of a revenue management solution,” Sawh
 2                  said.188
 3           189.   Further, relevant Yardi personnel serve in industry trade associations and appear at
 4   trade association events. For example, Vice President of Yardi Matrix Jeffrey Adler is a Board
 5   Member of the National Multifamily Housing Council (NHMC).189 Yardi promotes its products at
 6   NHMC events; for example, a 2021 press release notes that Yardi “is a top-tier Chairs Circle
 7   Sponsor” of the NHMC’s “OPTECH” conference and maintains a booth at the event with demos
 8   of its products. The same press release quotes Terri Dowen, Yardi’s senior vice president of sales,
 9   as stating: “It will be great to interact face-to-face again with industry peers at NMHC OPTECH.
10   The Yardi team looks forward to demonstrating how we incorporate user input and trends into
11   technology solutions that set the standard for innovation, connection and operational
12   improvement.”190
13           190.   Finally, Yardi revenue managers have regular contact with RENTmaximizer
14   clients to directly help property managers with pricing and keep up to date on their competitors.
15   Further, property managers also call competitor properties to directly obtain pricing information
16   from them on a regular basis.
17           7.     Related government investigation.
18           191.   Federal antitrust regulators are reportedly investigating virtually identical conduct
19   by Yardi competitor RealPage, which is facing a related lawsuit in the Middle District of
20   Tennessee based on allegations that RealPage’s YieldStar pricing algorithm “works by collecting
21   information from property managers who are the company’s clients, including what rents they are
22

23

24     188
            Leah Etling, Revolutionary Revenue: Market Data Insight (Aug. 27, 2014), The Balance Sheet:
25   Yardi Corporate Blog, available at
     https://web.archive.org/web/20140908043659/https:/www.yardi.com/blog/news/revolutionary-
26   revenue/11339.html (emphasis added).
        189
            https://www.yardimatrix.com/About-Us/Key-Management/Jeff-Adler.
27      190
            Yardi, Yardi Spotlighting Multifamily Solutions at NHMC OPTECH,
     https://www.yardi.com/news/press-releases/yardi-spotlighting-multifamily-solutions-at-nmhc-optech/ (last
28   visited Nov. 3, 2023).

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 1   able to charge tenants,” information “fed into an algorithm that then recommends prices daily for
 2   each available apartment.”191 This is almost precisely the same as the conduct alleged here.
 3           192.   Specifically, according to the November 23, 2022 article,
 4                  The Department of Justice’s Antitrust Division has opened an
                    investigation into whether rent-setting software made by a Texas
 5                  based real estate tech company is facilitating collusion among
                    landlords, according to a source with knowledge of the matter. The
 6                  inquiry is being launched as questions have arisen about a 2017
 7                  merger between RealPage and its largest pricing competitor.192
             193.   The investigation followed three letters from Congressional leaders to the DOJ and
 8
     FTC pushing for such an investigation:
 9
                    The letters raised concerns that RealPage’s pricing software could
10                  be pushing rents above competitive levels and allowing big
11                  landlords to coordinate their pricing in violation of federal antitrust
                    laws.
12
                    “We are concerned that the use of this rate setting software
13                  essentially amounts to a cartel to artificially inflate rental rates in
                    multifamily residential buildings,” three senators said in a letter in
14                  early November.193
15           194.    The same article also notes that RealPage has defended its conduct by stating,
16   among other things, that “its software helps reduce the risk of collusion that would occur if
17   landlords relied on phone surveys of competitors to manually price their units.”194 Remarkably,
18   this is precisely the collusion that Yardi facilitates by using data collected through extensive
19   phone surveys (as part of which Yardi employees falsely identify themselves as potential renters)
20   as an input to the RENTmaximizer pricing algorithm.
21           195.   Most recently, on October 12, 2023, the Department of Justice filed a notice in the
22   RealPage action stating that the United States “has a particularly substantial interest in addressing
23   the proper application of Section 1 of the Sherman Act, 15 U.S.C. § 1, to the use of algorithms by
24   competitors to help set pricing. Companies’ use of algorithms in price setting, often in an effort to
25
       191
            Heather Vogell, Department of Justice Opens Investigation Into Real Estate Tech Company Accused
26   of Collusion with Landlords, ProPublica (Nov. 23, 2022), https://www.propublica.org/article/yieldstar-
     realpage-rent-doj-investigation-antitrust.
27      192
            Id.
        193
            Id.
28      194
            Id.

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 1   increase pricing, has become more prevalent in the modern economy. As a result, the issues
 2   involved in this case are of increasing significance to the application of antitrust law across the
 3   economy.”195 The Department of Justice has indicated that may file a potential Statement of
 4   Interest in that case by November 15, 2023.
 5                                     V.       RELEVANT MARKET
 6            196.   Defendants’ actions described herein constitute a single unlawful conspiracy to fix,
 7   raise, stabilize, or maintain the nationwide multifamily rental prices at artificially high levels, and
 8   is per se illegal under the Sherman Act. This agreement was evidenced by Landlord Defendants’
 9   reciprocal exchange of competitively sensitive information through Yardi and outsourced their
10   independent price decisions to a common decision maker.
11            197.   Because of the horizontal nature of the alleged conspiracy, and because the
12   conduct alleged here increased prices and reduced output, if the Court declines to analyze this
13   case under the per se rule, the Court could conduct a “quick look” review. Under either mode of
14   analysis, Plaintiffs are not required to prove that Defendants had market power in any defined
15   antitrust market. To the extent the Court decides to engage in the rule of reason analysis, the
16   relevant product market is the multifamily housing rental market, and the relevant geographic
17   market is the United States.
18            198.   Consumers do not consider housing available for purchase as substitutes for
19   multifamily rental apartment units because, among other reasons, purchase of real estate requires
20   a substantial financial investment for a down payment that often requires financing. In addition,
21   the short-term nature of leases is not equivalent to long-term permanent purchasing. Nor is single-
22   family real estate considered an economic substitute for multifamily residential real estate,
23   because of amenities, security, and availability.
24            199.   The multifamily rental market satisfies the test for market definition used by
25   federal antitrust enforcement agencies, widely known as the “SSNIP test.” The test asks whether a
26   hypothetical monopolist in a proffered market could profitably impose a small but significant
27
        195
           See United States’ Notice of Potential Participation (ECF No. 599), In re: RealPage Rental Software
28   Antitrust Litigation (No. II), Case No. 3:23-MD-3071 (Oct. 12, 2023).

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 1   (typically 5%), non-transitory increase in price (a “SSNIP”), without causing a sufficient number
 2   of customers to switch to other products or services such that the SSNIP would be unprofitable to
 3   the monopolist. If the SSNIP is profitable, the market is properly defined. If the SSNIP is not
 4   profitable, the market is too narrowly defined and does not encompass sufficient economic
 5   substitutes.
 6              200.   Here, the SSNIP test is satisfied and the market is properly defined. As described
 7   above, pursuant to the Landlord Defendants’ agreement not to compete on price, Landlord
 8   Defendants are able to gain (according to Yardi) “on average more than 6% net rental income
 9   growth,”196 yet those increases have not driven enough renters out of the market such that the
10   SSNIP has become unprofitable to Landlord Defendants.
11   A.         Regional Submarkets
12              201.   Defendant Yardi operates a nationwide business and RENTmaximizer is widely
13   used by multifamily residential rental properties across the United States.
14              202.   The relevant submarkets are the individual Metropolitan Statistical Area (“MSA”)
15   as defined by the U.S. Census Bureau and Office of Management and Budget. An MSA is a
16   geographic entity “associated with at least one urban area of at least 50,000 population, plus
17   adjacent counties having a high degree of social and economic integration with the core as
18   measured through commuting ties.”197
19              203.   The needs for convenience, familiarity, and accessibility create distinct regional
20   submarkets within the multifamily housing rental market. When searching for multifamily
21   apartments, renters generally prioritize properties near their workplaces, schools, communities.
22   As a result, renters in a particular MSA do not consider multifamily residential leases in other
23   MSAs as adequate substitutes.
24              204.   Using MSAs as the relevant geographic market is appropriate for the lease of
25   multifamily residential rental properties.198
26        196
           Yardi Multifamily Suite, supra note 8.
          197
           https://www.census.gov/programs-surveys/metro-micro/about/glossary.html.
27     198
           In re RealPage, Inc., Rental Software Antitrust Litig. (No. II), 709 F. Supp. 3d 478, 525 (M.D. Tenn.
28   2023).

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 1          205.    Plaintiffs allege that Defendants’ agreement harmed competition in at least the
 2   following MSAs, each of which compromises a separate and distinct relevant geographic market
 3   under any potential Rule of Reason Analysis:
 4          206.    The Seattle, Washington Submarket corresponds to the Census Bureau’s Seattle–
 5   Tacoma–Bellevue MSA and contains the three largest counties in the state: King, Pierce, and
 6   Snohomish counties. Multiple Landlord Defendants, including Bridge, Avenue5, Calibrate, HNN,
 7   Pillar, Greystar, Guardian, Goodman, Sentinel and Lincoln, own or operate multifamily
 8   residential apartments in that market.
 9          207.    The Atlanta, Georgia Submarket corresponds to the Census Bureau’s Atlanta–
10   Sandy Springs–Roswell MSA and includes Fulton, DeKalb, Gwinnett, Cobb, Clayton, Douglas,
11   Fayette, and Henry counties. Multiple Landlord Defendants, including Greystar, Lincoln, RPM,
12   RAM, and Woodward, own or operate multifamily residential apartments in that market.
13          208.    The Arlington, Virgina Submarket corresponds to the Census Bureau’s
14   Washington DC–Arlington–Alexandria MSA and includes the District of Columbia and counties
15   such as Alexandria, Fairfax, and Falls Church. Multiple Landlord Defendants, including Greystar,
16   Dweck, Lincoln, Sentinel, Southern Management, and KRE, own or operate multifamily
17   residential apartments in that market.
18          209.    The Austin, Texas Submarket corresponds to the Census Bureau’s Austin–Round
19   Rock–Georgetown MSA, and consists of the City of Austin, Bastrop County, Caldwell County,
20   Hays County, Travis County, and Williamson County. Multiple Landlord Defendants, including
21   Avenue5, Bridge, Greystar, RPM, RAM, and Lincoln, own or operate multifamily residential
22   apartments in that market.
23          210.    The Baltimore, Maryland Submarket corresponds to the Census Bureau’s
24   Baltimore–Columbia–Towson MSA and consists of the City of Baltimore and six counties in
25   Maryland. Multiple Landlord Defendants, including Apartment Services, Avenue5, Sentinel,
26   Greystar, and Southern Management, own or operate multifamily residential apartments in that
27   market.
28

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 1          211.    The Chicago, Illinois Submarket corresponds to the Census Bureau’s Chicago–
 2   Naperville–Elgin MSA and includes 14 counties in Illinois, Indiana, and Wisconsin. Multiple
 3   Landlord Defendants, including Lincoln, Greystar, Habitat, and RPM Living, own or operate
 4   multifamily residential apartments in that market.
 5          212.    The Charlotte, North Carolina Submarket corresponds to the Census Bureau’s
 6   Charlotte–Gastonia–Concord MSA and includes 11 counties in North and South Carolina.
 7   Multiple Landlord Defendants, including Avenue5, Bridge, Grubb Properties, Greystar, Lincoln,
 8   RPM, Sentinel and PRG, own or operate multifamily residential apartments in that market.
 9          213.    The Colorado Springs, Colorado Submarket corresponds to the Census Bureau’s
10   Colorado Springs MSA, and includes El Paso and Teller counties. Multiple Landlord Defendants,
11   including Ram Partners, Greystar, Lincoln, Avenue5, RPM, and Asset Living, own or operate
12   multifamily residential apartments in that market.
13          214.    The Jacksonville, Florida Submarket corresponds to the Census Bureau’s
14   Jacksonville MSA and includes Duval, St. Johns, Clay, Nassau, and Baker counties. Multiple
15   Landlord Defendants, including Greystar, RPM, Lincoln, Bridge, FPI, RAM, and Sentinel, own
16   or operate multifamily residential apartments in that market.
17          215.    The Los Angeles, California Submarket corresponds to the Census Bureau’s Los
18   Angeles–Long Beach–Anaheim MSA and includes Los Angeles and Orange counties. Landlord
19   Defendants, including Bridge, GHP, Western National Securities, Avenue5, Greystar and
20   Balaciano Group, own or operate multifamily residential apartments in that market.
21          216.    The Phoenix, Arizona Submarket corresponds to the Census Bureau’s Phoenix–
22   Mesa–Chandler MSA and includes all of Maricopa and Pinal counties. Multiple Landlord
23   Defendants including Avenue5, Bridge, Calibrate, Greystar, Guardian, RPM, Pillar and Lincoln,
24   own or operate multifamily residential apartments in that market.
25          217.    The Portland, OR Submarket corresponds to the Census Bureau’s Portland–
26   Vancouver–Hillsboro MSA and is comprised of seven counties in Oregon and Washington state.
27   Multiple Landlord Defendants, including Affinity, Avenue5, Summit, Greystar, and Guardian,
28   own or operate multifamily residential apartments in that market.

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 1          218.    The list of MSAs above is a non-exhaustive list of the relevant submarkets.
 2                               VI.     CLASS ACTION ALLEGATIONS
 3          219.    Plaintiffs bring this action on behalf of themselves and all others similarly situated
 4   pursuant to Federal Rules of Civil Procedure 23(a) and 23(b)(3) as representatives of the Class,
 5   which is defined as follows:
 6          All persons and entities in the United States that leased multifamily housing in the United
 7          States from a landlord that used Yardi’s RENTmaximizer or Revenue IQ software
            programs, or from a division, subsidiary, predecessor, agent, or affiliate of such Defendant
 8          or Conspirator, at any time during the period of September 8, 2019, until the Defendants
            and Conspirators’ unlawful conduct and its anticompetitive effects cease to persist.
 9
            220.    The Class is so numerous that joinder of all members in this action is
10
     impracticable. There are thousands of members in the proposed Class.
11
            221.    Plaintiffs’ claims are typical of those of the Class.
12
            222.    Plaintiffs and members of the Class were all inured by the same unlawful conduct,
13
     which resulted in all of them paying more for leases than they otherwise would have in a
14
     competitive market.
15
            223.    Plaintiffs will fairly and adequately protect and represent the interests of the Class.
16
     The interests of the Plaintiffs are not antagonistic to the Class.
17
            224.    Questions of law and fact common to the members of the Class will predominate
18
     over questions, if any, that may be individual to individual class members, since the Defendants
19
     have acted and refused to act on grounds generally applicable to the Class.
20
            225.    Questions of law and fact common to the Class include:
21
                    a.      Whether Defendants have entered into a formal or informal contract,
22                          combination, conspiracy, or common understanding to artificially inflate
                            the price and/or artificially suppress the supply of multifamily housing real
23                          estate leases;

24                  b.      If Defendants entered into such a formal or informal contract, combination,
                            conspiracy, or common understanding, whether that conduct violates
25                          Section 1 of the Sherman Act under the per se, quick look, or rule of reason
                            modes of analysis;
26
                    c.      If Defendants entered into such a formal or informal contract, combination,
27                          conspiracy, or common understanding, whether that conduct has in fact
                            artificially inflated price and/or artificially suppressed supply of
28                          multifamily housing real estate leases from competitive levels;

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 1                  d.      The proper measure of damages; and
 2                  e.      The contours of appropriate injunctive relief to remediate the
                            anticompetitive effects of the challenged conduct in the future.
 3
            226.    Plaintiffs and members of the Class are represented by counsel who are
 4
     experienced and competent in the prosecution of complex antitrust and unfair competition class
 5
     actions.
 6
            227.    Class action treatment is the superior method for the fair and efficient adjudication
 7
     of the controversy in that, among other things, such treatment will permit a large number of
 8
     similarly situated persons or entities to prosecute their common claims in a single forum
 9
     simultaneously, efficiently, and without the unnecessary duplication of effort and expense that
10
     numerous individual actions would engender. The benefits of proceeding through the class
11
     mechanism, including providing injured persons or entities with a method of obtaining redress for
12
     claims that might not be practicable for them to pursue individually, substantially outweigh any
13
     difficulties that may arise in the management of this class action.
14
                                       VII.   CAUSES OF ACTION
15
                                       FIRST CLAIM FOR RELIEF
16
                 VIOLATION OF SECTION 1 OF THE SHERMAN ACT
17     FOR AGREEMENT IN RESTRAINT OF TRADE (HUB AND SPOKE CONSPIRACY)
                                 15 U.S.C. § 1
18
                            (On Behalf of Nationwide Class for Injunctive and
19                            Equitable Relief and Compensatory Damages)
20          228.    Plaintiffs incorporate and reallege, as though fully set forth herein, each and every
21   allegation set forth in the preceding paragraphs of this Complaint.
22          229.    Beginning in 2011, Defendants engaged in a continuing contract, combination, or
23   conspiracy to unreasonably restrain interstate trade and commerce in violation of Section 1 of the
24   Sherman Act, 15 U.S.C § 1.
25          230.    The contract, combination, or conspiracy alleged herein has consisted of a
26   continuing agreement among Defendants to use Yardi’s pricing algorithms to artificially inflate
27   price in the nationwide market for multifamily rental housing. This combination, generally known
28

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 1   in antitrust law as a hub and spoke conspiracy, consists of a combination of (1) a set of vertical
 2   agreements between Defendants and Yardi that implement Yardi’s revenue management program
 3   and (2) a horizontal agreement amongst all Defendants to use Yardi’s revenue management
 4   program.
 5            231.   The contract, combination, or conspiracy alleged herein has caused Plaintiffs and
 6   Class members to suffer overcharge damages.
 7            232.   There are no procompetitive justifications for the Defendants’ cartel, and any
 8   proffered justifications, to the extent legitimate, could have been achieved through less restrictive
 9   means.
10            233.   Defendants’ conspiracy is a per se violation of Section 1 of the Sherman Act. In
11   the alternative, Defendants’ conspiracy violates section 1 of the Sherman Act under either a quick
12   look or rule of reason analysis.
13                                      SECOND CLAIM FOR RELIEF

14              VIOLATION OF SECTION 1 OF THE SHERMAN ACT
     FOR AGREEMENT IN RESTRAINT OF TRADE (SET OF VERTICAL AGREEMENTS)
15                              15 U.S.C. § 1
16                          (On Behalf of Nationwide Class for Injunctive and
                              Equitable Relief and Compensatory Damages)
17
              234.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and every
18
     allegation set forth in the preceding paragraphs of this Complaint.
19
              235.   Beginning in 2011, Defendants engaged in a continuing contract, combination, or
20
     conspiracy to unreasonably restrain interstate trade and commerce in violation of Section 1 of the
21
     Sherman Act, 15 U.S.C § 1.
22
              236.   The contract, combination, or conspiracy alleged herein has consisted of a set of
23
     vertical agreements between Defendants and Yardi for each Defendant to use Yardi’s pricing
24
     algorithms to set prices for multifamily rental housing. Sets of vertical agreements are actionable
25
     as an overall combination under antitrust law, and are analyzed under the rule of reason.
26

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 1            237.   Each individual agreement between a Defendant Landlord and Yardi in isolation
 2   had the anticompetitive effect of artificially inflating prices for multifamily rental housing for that
 3   Defendant Landlord.
 4            238.   In the aggregate, the set of vertical agreements between Defendants Landlords and
 5   Yardi artificially inflated prices in the relevant market of multifamily rental housing in the United
 6   States. In particular, as a result of the vertical agreements, competitor Defendant Landlords each
 7   delegated pricing to a centralized third party, Yardi, with the understanding that Yardi revenue
 8   management software would inflate the rents that they collectively charged.
 9            239.   The contract, combination, or conspiracy alleged herein has caused Plaintiffs and
10   Class members to suffer overcharge damages.
11            240.   There are no procompetitive justifications for the Defendants’ cartel, and any
12   proffered justifications, to the extent legitimate, could have been achieved through less restrictive
13   means.
14            241.   Defendants’ conspiracy violates section 1 of the Sherman Act under either a quick
15   look or rule of reason analysis.
16                                      THIRD CLAIM FOR RELIEF

17                   VIOLATION OF SECTION 1 OF THE SHERMAN ACT
               FOR CONSPIRACY TO EXCHANGE COMPETITIVE INFORMATION
18                                   15 U.S.C. § 1
19                          (On Behalf of Nationwide Class for Injunctive and
                              Equitable Relief and Compensatory Damages)
20
              242.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and every
21
     allegation set forth in the preceding paragraphs of this Complaint.
22
              243.   Beginning in 2011, Defendants and their co-conspirators entered into a continuing
23
     agreement to regularly exchange detailed, timely, competitively sensitive, and non-public
24
     information about their operations. This agreement is an unreasonable restraint of trade in
25
     violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.
26

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 1          244.    Defendants’ acts in furtherance of their combination or conspiracy were
 2   authorized, ordered, or done by their officers, agents, employees, or representatives while actively
 3   engaged in the management of Defendants’ affairs.
 4          245.    Defendants’ anticompetitive acts involved United States domestic commerce and
 5   import commerce, and had a direct, substantial, and foreseeable effect on interstate commerce by
 6   raising and fixing prices for multifamily real estate leases.
 7          246.    The relevant product market is the market for the lease of multifamily real estate
 8   and the relevant geographic market is nationwide.
 9          247.    Defendants possess market power in the relevant antitrust market.
10          248.    Defendants could impose an increase in the price of leases collectively without
11   causing many consumers to switch their purchases to another lease. Leases constitute a unique
12   product market.
13          249.    The information regularly exchanged by Defendants pursuant to the agreement has
14   consisted of detailed, competitively sensitive, and non-public information about current supply,
15   production, and pricing plans regarding leasing.
16          250.    Landlord Defendants’ regular information exchanges through Yardi reflected
17   concerted action between horizontal competitors in the market for leases. In particular, Landlord
18   Defendants understood that information they provided would be incorporated into Yardi Matrix
19   and also used, in aggregated fashion, to provide pricing recommendations through
20   RENTmaximizer.
21          251.    Each Landlord Defendant furnished competitively sensitive information to other
22   leasing companies with the understanding that it would be reciprocated in the form of pricing
23   recommendations that utilized that data. These reciprocal exchanges of information between
24   Landlord Defendants constituted a horizontal exchange of information.
25          252.    The collective agreement to regularly exchange detailed and non-public
26   information about current production, supply, and pricing of leases suppressed competition
27   between the Defendants.
28

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 1          253.    When Defendants that are competing for the same consumers exchange
 2   competitive information, it reduces the incentives to compete on price. Accordingly, Defendants
 3   used the data obtained through Yardi RENTmaximizer to reduce the uncertainty that they each
 4   should have faced from not knowing what their competitors were offering and providing in the
 5   leasing market. This strategic information was a material factor in Defendants’ decisions to inflate
 6   the prices that Plaintiffs and Class members paid for leases during the Class Period.
 7          254.    Defendants’ unlawful agreements to exchange, and the actual exchanges of non-
 8   public, timely, and detailed data were not reasonably necessary to further any procompetitive
 9   purpose. The information exchanged between Defendants was current, easily traceable to its
10   source, confidential, and related to a core characteristic of competition between them.
11          255.    The information-exchange agreement has had the effect of (1) reducing and
12   suppressing competition among Defendants in the nationwide multifamily market and
13   (2) inflating the prices of leases during the Class Period.
14          256.    As a result of Defendants’ unlawful conduct, Plaintiffs and the members of the
15   Class have been harmed by being forced to pay inflated prices for leases.
16          257.    As a direct and proximate result of Defendants’ anticompetitive conduct, Plaintiffs
17   and members of the Class have been injured in their business or property and will continue to be
18   injured in their business and property by paying more for leases than they would have paid and
19   will pay in the absence of the conspiracy.
20          258.    This horizonal agreement to exchange information constitutes a violation of
21   Section 1 of the Sherman Act under a rule of reason analysis.
22                                        REQUEST FOR RELIEF
23          WHEREFORE, Plaintiffs, on behalf of themselves and the Class of all others so similarly
24   situated, respectfully request judgment against Defendants as follows:
25          A.      The Court determine that this action may be maintained as a class action under
26   Rule 23(a), (b)(2), and (b)(3) of the Federal Rules of Civil Procedure, appoint Plaintiffs as Class
27   Representatives and their counsel of record as Class Counsel, and direct that notice of this action,
28

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 1   as provided by Rule 23(c)(2) of the Federal Rules of Civil Procedure, be given to the Class, once
 2   certified;
 3           B.      The unlawful conduct, conspiracy, or combination alleged herein be adjudged and
 4   decreed in violation of Section 1 of the Sherman Act;
 5           C.      Plaintiffs and the Class recover damages, to the maximum extent allowed under
 6   the applicable laws, and that joint and several judgments in favor of Plaintiffs and the members of
 7   the Class be entered against Defendants in an amount to be trebled to the extent such laws permit;
 8           D.      Defendants, their affiliates, successors, transferees, assignees and other officers,
 9   directors, partners, agents, and employees thereof, and all other persons acting or claiming to act
10   on their behalf or in concert with them, be permanently enjoined and restrained from in any
11   manner continuing, maintaining, or renewing the conduct, conspiracy, or combination alleged
12   herein, or from entering into any other conspiracy or combination having a similar purpose or
13   effect, and from adopting or following any practice, plan, program, or device having a similar
14   purpose or effect;
15           E.      Plaintiffs and the members of the Class be awarded pre- and post-judgment interest
16   as provided by law, and that such interest be awarded at the highest legal rate from and after the
17   date of service of this Complaint;
18           F.      Plaintiffs and the members of the Class recover their costs of suit, including
19   reasonable attorneys’ fees, as provided by law; and
20           G.      Plaintiffs and the members of the Class have such other and further relief as the
21   case may require and the Court may deem just and proper.
22                                          JURY TRIAL DEMANDED
23           Plaintiffs demands a trial by jury, pursuant to Rule 38(b) of the Federal Rules of Civil
24   Procedure, of all issues so triable.
25

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